EXHIBIT 2
Prepare. Protect. Prevail.

                                                                                 THE
                                                                                 HARTFORD
                                                                                 Business Insurance
                                                                                 Employee Benefits
                                                                                 Auto
                                                                                 Home




March 13, 2020


Re:       Insured:                   LDX SOLUTIONS
          Policy Number:             52 CES OF6859
          Policy Term:               06/30/2019 – 06/30/2020
          Writing Company:           TWIN CITY FIRE INSURANCE COMPANY

          This will verify that, to the best of the undersigned's knowledge, the attached is a
          complete and accurate representation of insurance policy referenced above. Documents
          and/or information produced herewith are kept and maintained in the ordinary course of
          business.




Kyona Lawrence
Operations Support Specialist
Clinton Business Center
Hartford Office Location




                                                                              301 Woods Park Dr.
                                                                               Clinton, NY 13323
                                                                          Toll Free: 888-525-2652
                                                                               Fax: 866-809-1178




                                                                                   Exhibit 2
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Special Multi-Flex
Business Insurance Policy




                      ABCD



                      EFGH



                      IJKL



                      MNOP



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                  QUICK REFERENCE
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
                   OCCURRENCE
                                                   READ YOUR POLICY CAREFULLY

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     Coverages and Limits of Insurance
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  Examination of Your Books and Records
  Inspections and Surveys
  Premiums
  Transfer of Your Rights and Duties under this Policy
ENDORSEMENTS
     These form numbers are shown on the Coverage Part - Declarations Page or on the Common Policy
     Declarations Page.



Form HC 70 01 06 05
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                                                                                                                                         Exhibit 2
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               IMPORTANT NOTICE TO POLICYHOLDERS
                                        CLAIMS MADE COVERAGE



Dear Policyholder:

This notice is not your policy. It is a notice which describes some of the major features of your claims made
coverage. Please read your policy carefully to determine rights, duties and what is and is not covered. Only the
provisions of your policy determine the scope of your insurance protection.

YOUR POLICY PROVIDES CERTAIN COVERAGES ON A CLAIMS MADE BASIS

Occurrence Vs Claims Made

There is no difference in the kinds of damages covered on an occurrence basis or a claims made basis. Claims
for damages may be assigned to different policy periods, however, depending on which coverage you have
purchased.

Coverage on an occurrence policy is prov ided for injury or damage that occurs during the policy period, no matter
when the claim is made.

Your claims made coverage provides for injury or damage if the claim for damages is first made against any
insured during the policy period. A claim by a person or organization seeking damages will be considered as
being first made when notice of such claim is received and recorded by any insured or by us, whichever comes
first. This insurance does not apply to a covered injury which occurred before the Retroactive Date or after the
end of the policy period.

RETROACTIVE DATE

According to the terms and conditions of the claims made coverage, each coverage may carry its own Retroactive
Date. There is no coverage for damage that occurred before the Retroactive Date. If your coverage does not have
a Retroactive Date, the covered injury or loss must occur during the policy period.

EXTENDED REPORTING PERIODS

Your policy includes a Basic Extended Reporting Period of 60 days. However, if a claim is made after the
termination of your claims made policy or endorsement thereto, you may not have coverage for the claim unless
you purchase an Extended Reporting Period.

Carefully review the provision entitled EXTENDED REPORTING PERIODS. These provisions have certain
limitations including but not limited to the availability of and the length of coverage and the time during which you
must purchase or accept any offered Extended Reporting Periods.

Your claims made coverage contains certain limitations, exclusions and conditions. Please read them carefully
and consult your agent about any questions you might have.




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This SPECIAL MULTI-FLEX POLICY is provided by the stock insurance company(s) of The Hartford Insurance Group,
shown below.




                                       12:01 a.m. Standard Time at your mailing address shown above.


In return for the payment of the premium, and subject to all of the terms of this policy, we agree with you to
provide insurance as stated in this policy. The Coverage Parts that are of this policy are listed below. The
Advance Premium shown may be subject to adjustment.




                                  Countersigned by
                                  (Where required by law)               Authorized Representative                Date



                                                                                                   Exhibit 2
                                                                                                Page 5 of 80
COMMERCIAL GENERAL LIABILITY
COVERAGE PART - DECLARATIONS
 DECLARATIONS                                                          POLICY NO.
                       Previous Policy No.



This COMMERCIAL GENERAL LIABILITY COVERAGE PART consists of:
   A. This Declarations;
   B. Commercial Liability Schedule, if applicable;
   C. Commercial General Liability Coverage Form; and
   D. Any Endorsements issued to be part of this Coverage Part and listed below.

1. Audit Period is the Policy Period unless otherwise herein stated:            Semi-Annual         Quarterly      Monthly
                                                                                Annual              Not subject to Audit


2. Advance Premium                                  ,which is          A Flat Charge Per Each Policy Period
                                                                       Adjustable at the end of each Audit Period, Per
                                                                       Premium Computation Endorsement
   Minimum Retained Audit Premium
   Minimum Retained Premium                                 , not subject to adjustment in the event of cancellation by you.
   Applicable State Surcharges:       REFER TO SCHEDULE HC1210
   Note: charges, if any, are included in item 2. above

3. Limits of Insurance
   The Limits of Insurance, subject to all the terms of this policy that apply, are:
   Each Occurrence
   Personal and Advertising Injury Limit
   Damage to Premises Rented To You Limit - Any One Premises
   Medical Payments Coverage Limit - Any One Person
   General Aggregate Limit (Other than Products-Completed Operations)
   Products-Completed Operations Aggregate Limit


4. Classifications, if any:
    REFER TO EXTENSION SCHEDULE.

5. Business Description


6. Form Numbers of Coverage Forms and Endorsements forming a part of this policy:
   SEE LISTING OF POLICY PROVISIONS AND ENDORSEMENTS FORMING A PART OF THE POLICY AT ISSUE.




Form HS 00 02 06 05
                                                   (c) 2005, The Hartford                           Exhibit 2
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POLICY NUMBER:




   LISTING OF COVERAGE PARTS AND ENDORSEMENTS
            FORMING A PART OF THE POLICY

The following is a listing of policy provisions, forms and endorsements by Form Number and Title that form a part
of the policy at issue.



       FORM NUMBER                                      TITLE




Form HS 99 22 06 08
                                               (c) 2008, The Hartford
                                                                                                Exhibit 2
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POLICY NUMBER:




   LISTING OF COVERAGE PARTS AND ENDORSEMENTS
            FORMING A PART OF THE POLICY

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Form HS 99 22 06 08
                                               (c) 2008, The Hartford
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POLICY NUMBER:




   LISTING OF COVERAGE PARTS AND ENDORSEMENTS
            FORMING A PART OF THE POLICY

The following is a listing of policy provisions, forms and endorsements by Form Number and Title that form a part
of the policy at issue.



       FORM NUMBER                                      TITLE




Form HS 99 22 06 08
                                               (c) 2008, The Hartford
                                                                                                Exhibit 2
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   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various prov1s1ons in this policy restrict coverage.               (1) The "bodily injury" or "property damage" is
Read the entire policy carefully to determine rights,                  caused by an "occurrence" that takes
duties and what is and is not covered.                                 place in the "coverage territory";
Throughout this policy the words "you" and "your"                  (2) The "bodily injury" or "property damage"
refer to the Named Insured shown in the                                occurs during the policy period; and
Declarations, and any other person or organization                 (3) Prior to the policy period, no insured listed
qualifying as a Named Insured under this policy. The                   under Paragraph 1. of Section II - Who Is
words "we", "us" and "our" refer to the stock                          An Insured and no "employee" authorized
insurance company member of The Hartford                               by you to give or receive notice of an
providing this insurance.                                              "occurrence" or claim, knew that the
The word "insured" means any person or                                 "bodily injury" or "property damage" had
organization qualifying as such under Section II -                     occurred, in whole or in part. If such a
Who Is An Insured.                                                     listed insured or authorized "employee"
Other words and phrases that appear in quotation                       knew, prior to the policy period, that the
marks have special meaning. Refer to Section V -                       "bodily injury" or "property damage"
Definitions.                                                           occurred, then any continuation, change
                                                                       or resumption of such "bodily injury" or
SECTION I - COVERAGES                                                  "property damage" during or after the
COVERAGE A BODILY INJURY AND PROPERTY                                  policy period will be deemed to have been
DAMAGE LIABILITY                                                       known prior to the policy period.
1. Insuring Agreement                                           c. "Bodily injury" or "property damage" will be
   a. We will pay those sums that the insured                      deemed to have been known to have
      becomes legally obligated to pay as damages                  occurred at the earliest time when any
      because of "bodily injury" or "property                      insured listed under Paragraph 1. of Section II
      damage" to which this insurance applies. We                  - Who Is An Insured or any "employee"
      will have the right and duty to defend the                   authorized by you to give or receive notice of
      insured against any "suit" seeking those                     an "occurrence" or claim:
      damages. However, we will have no duty to                    (1) Reports all, or any part, of the "bodily
      defend the insured against any "suit" seeking                    injury" or "property damage" to us or any
      damages for "bodily injury" or "property                         other insurer;
      damage" to which this insurance does not                     (2) Receives a written or verbal demand or
      apply. We may, at our discretion, investigate                    claim for damages because of the "bodily
      any "occurrence" and settle any claim or "suit"                  injury" or "property damage"; or
      that may result. But:
                                                                   (3) Becomes aware by any other means that
      (1) The amount we will pay for damages is                        "bodily injury" or "property damage" has
          limited as described in Section Ill - Limits                 occurred or has begun to occur.
          Of Insurance; and
                                                                d. Damages because of "bodily injury" include
      (2) Our right and duty to defend ends when
                                                                   damages claimed by any person or
          we have used up the applicable limit of                  organization for care , loss of services or
          insurance in the payment of judgments or                 death resulting at any time from the "bodily
          settlements under Coverages A or B or                    injury".
          medical expenses under Coverage C.
                                                                e. Incidental Medical Malpractice And Good
      No other obligation or liability to pay sums or              Samaritan Coverage
      perform acts or services is covered unless
      explicitly provided for under Supplementary                   "Bodily injury" arising out of the rendering of
      Payments - Coverages A and B.                                 or failure to render the following health care
                                                                    services by any "employee" or "volunteer
   b. This insurance applies to "bodily injury" and                 worker" shall be deemed to be caused by an
      "property damage" only if:                                    "occurrence" for:

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                                                                                                    .)       2
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     (1) Professional health care services such as:             (a) Liability to such party for, or for the
         (a) Medical, surgical, dental, laboratory, x-              cost of, that party's defense has also
             ray or nursing services or treatment,                  been assumed in the same "insured
             advice or instruction, or the related                  contract"; and
             furnishing of food or beverages;                   (b) Such    attorney fees and litigation
         (b) Any health or therapeutic service,                     expenses are for defense of that party
             treatment, advice or instruction; or                   against a civil or alternative dispute
                                                                    resolution    proceeding    in   which
         (c) The furnishing or dispensing of drugs                  damages to which this insurance
             or medical, denta l, or surgical supplies              applies are alleged .
             or appliances; or
                                                          c. Liquor Liability
     (2) First aid services, which include:
                                                             "Bodily injury" or "property damage" for which
         (a) Cardiopulmonary            resuscitation ,      any insured may be held liable by reason of:
              whether performed manually or with a
              defibrillator; or                             (1) Causing or contributing to the intoxication
                                                                of any person;
          (b) Services performed as a Good
                                                            (2) The furn ishing of alcoho lic beverages to a
              Samaritan.
                                                                person unde r the legal drinking age or
      For the purpose of determining the limits of              under the influence of alcohol; or
      insurance, any act or omission together with
      all related acts or omissions in the furnishing       (3) Any statute. ordinance or regulation
      of these services to any one person will be               relating to the sale, gift, distribution or use
      considered one "occurrence".                              of alcoholic beverages.
      However, this Incidental Medical Malpractice           This exclusion applies even if the claims
      And Good Samaritan Coverage provision                  against any insured allege negligence or
      applies only if you are not engaged in the             other wrongdoing in :
      business or occupation of providing any of the              (a} The supervision, hiring, employment,
      services described in this provision.                           training or monitoring of others by that
2. Exclusions                                                         insured ; or
  This insurance does not apply to:                               (b) Providing or failing to provide
                                                                      transportation with respect to any
   a. Expected Or Intended Injury                                     person that may be under the influence
      "Bodily injury" or "property damage" expected                   of alcohol;
      or intended from the standpoint of the                 if the "occurrence" which caused the "bodily
      insured. This exclusion does not apply to              injury" or "property damage", involved that
      "bodily injury" or "property damage'' resulting        which is described in Paragraph (1 ), (2) or (3)
      from the use of reasonable force to protect            above.
      persons or property.
                                                             However, this exclusion applies only if you
   b. Contractual Liability                                  are in the business of manufacturing,
      "Bodily injury" or "property damage" for which         distributing, selling , serving or furnishing
      the insured is obligated to pay damages by             alcoholic beverages. For the purposes of this
      reason of the assumption of liability in a             exclusion , permitting a person to bring
      contract or agreement. This exclusion does             alcoholic beverages on your premises, for
      not apply to liability for damages:                    consumption on your premises, whether or
      (1) That the insured would have in the                 not a fee is charged or a license is required
          absence of the contract or agreement; or           for such activity, is not by itself considered the
                                                             business of selling , serving or furnishing
      (2) Assumed in a contract or agreement that            alcoholic beverages.
          is an "insured contract", provided the
          "bodily injury" or "property damage"            d. Workers' Compensation And Similar Laws
          occurs subsequent to the execution of the          Any obligation of the insured under a workers'
          contract or agreement. Solely for the              compensation,       disability  benefits   or
          purposes of liability assumed in an                unemployment compensation law or any
          "insured contract", reasonable attorney            similar law.
          fees and necessary litigation expenses          e. Employer's Liability
          incurred by or for a party other than an
          insured are deemed to be damages                   "Bodily injury" to:
          because of "bodily injury" or "property            (1} An "employee" of the insured arising out of
          damage", provided:                                     and in the course of:


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        (a) Employment by the insured; or               (c) Which are or were at any time
        (b) Performing    duties related to the             transported, handled, stored, treated,
            conduct of the insured's business; or           disposed of, or processed as waste by
                                                            or for:
    (2) The spouse, child, parent, brother or sister
        of that "employee" as a consequence of             (i) Any insured; or
        Paragraph (1) above.                              (ii) Any person     or organization for
     This exclusion applies:                                  whom     you     may   be     legally
    (1) Whether the insured may be liable as an               responsible;
        employer or in any other capacity; and          (d) At or from    any premises, site or
    (2) To any obligation to share damages with            location on which any insured or any
        or repay someone else who must pay                 contractors or subcontractors working
        damages because of the injury.                     directly or indirectly on any insured's
                                                           behalf are performing operations if the
     This exclusion does not apply to liability
                                                           "pollutants" are brought on or to the
     assumed by the insured under an "insured
     contract".                                            premises, site or location in connection
                                                           with such operations by such insured,
  f. Pollution                                             contractor or subcontractor. However,
    (1) "Bodily    injury" or "property damage"            this subparagraph does not apply to:
        arising out of the actual, alleged or              (i) "Bodily injury" or "property damage"
        threatened discharge, dispersal, seepage,
                                                              arising out of the escape of fuels,
        migration,      release     or    escape   of
                                                              lubricants or other operating fluids
        "pollutants":
                                                              which are needed to perform the
        (a) At or from any premises, site or                  normal electrical, hydraulic or
            location which is or was at any time              mechanical functions necessary for
            owned or occupied by, or rented or                the operation of "mobile equipment"
            loaned to, any insured. However, this             or its parts, if such fuels, lubricants
            subparagraph does not apply to:                   or other operating fluids escape
            (i) "Bodily injury" if sustained within a         from a vehicle part designed to
                building and caused by smoke,                 hold, store or receive them. This
                fumes, vapor or soot produced by              exception does not apply if the
                or originating from equipment that            "bodily injury" or "property damage"
                is used to heat, cool or dehumidify           arises out of the intentional
                the building, or equipment that is            discharge, dispersal or release of
                used to heat water for personal               the fuels, lubricants or other
                use, by the building's occupants or           operating fluids, or if such fuels,
                their guests;                                 lubricants or other operating fluids
           (ii) "Bodily injury" or "property damage"          are brought on or to the premises,
                for which you may be held liable, if          site or location with the intent that
                you are a contractor and the owner            they be discharged, dispersed or
                or lessee of such premises, site or           released as part of the operations
                location has been added to your               being performed by such insured,
                policy as an additional insured with          contractor or subcontractor;
                respect to your ongoing operations        (ii) "Bodily injury" or "property damage"
                performed for that additional                 sustained within a building and
                insured at that premises, site or             caused by the release of gases,
                location and such premises, site or           fumes or vapors from materials
                location is not and never was                 brought into that building in
                owned or occupied by, or rented or            connection with operations being
                loaned to, any insured, other than            performed by you or on your behalf
                that additional insured ; or                  by a contractor or subcontractor; or
          (iii) "Bodily injury" or "property damage"      (iii) "Bodily injury" or "property damage"
                arising out of heat, smoke or fumes           arising out of heat, smoke or fumes
                from a "hostile fire";                        from a "hostile fire"; or
        (b) At or from any premises, site or            (e) At or from any premises, site or
            location which is or was at any time            location on which any insured or any
            used by or for any insured or others for        contractors or subcontractors working
            the     handling,    storage, disposal,         directly or indirectly on any insured's
            processing or treatment of waste;               behalf are performing operations if the


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               operations are to test for, monitor,           (4) Liability assumed under any "insured
               clean up, remove, contain, treat,                   contract" for the ownership, maintenance
               detoxify or neutralize, or in any way               or use of aircraft or watercraft;
               respond to, or assess the effects of,          (5) "Bodily injury" or "property damage"
               "pollutants".                                       arising out of:
      (2) Any loss, cost or expense arising out of                (a) The operation of machinery or
          any:                                                         equipment that is attached to, or part
          (a) Request, demand, order or statutory or                   of, a land vehicle that would qualify
               regulatory     requirement that      any                under the definition of "mobile
               insured or others test for, monitor,                    equipment" if it were not subject to a
               clean up, remove, contain, treat,                       compulsory or financial responsibility
               detoxify or neutralize, or in any way                   law or other motor vehicle insurance
               respond to, or assess the effects of,                   law where it is licensed or principally
               "pollutants"; or                                        garaged; or
          (b) Claim or suit by or on behalf of a                 (b) The operation of any of the machinery
               governmental authority for damages                      or equipment listed in Paragraph f.(2)
               because of testing for, monitoring,                     or f.(3) of the definition of "mobile
               cleaning up, removing, containing,                      equipment"; or
               treating, detoxifying or neutralizing, or      (6) An aircraft that is not owned by any
               in any way responding to, or assessing              insured and is hired, chartered or loaned
               the effects of, "pollutants".                       with a paid crew. However, this exception
           However, this paragraph does not apply to               does not apply if the insured has any other
           liability for damages because of "property              insurance for such "bodily injury" or
          damage" that the insured would have in                   "property damage", whether the other
          the absence of such request, demand,                     insurance is primary, excess, contingent
           order      or    statutory     or  regulatory           or on any other basis.
           requirement, or such claim or "suit" by or      h. Mobile Equipment
           on behalf of a governmental authority.
                                                               "Bodily injury" or "property damage" arising
   g. Aircraft, Auto Or Watercraft                             out of:
      "Bodily injury" or "property damage" arising            (1) The transportation of "mobile equipment"
      out of the ownership, maintenance, use or                    by an "auto" owned or operated by or
      entrustment to others of any aircraft, "auto" or             rented or loaned to any insured; or
      watercraft owned or operated by or rented or
                                                              (2) The use of "mobile equipment" in, or while
       loaned to any insured. Use includes operation
                                                                   in practice for, or while being prepared for,
      and "loading or unloading".
                                                                   any      prearranged       racing,    speed,
      This exclusion applies even if the claims                    demolition, or stunting activity.
      against any insured allege negligence or
                                                           i. War
      other wrongdoing in the supervision, hiring,
      employment, training or monitoring of others            "Bodily injury" or "property damage", however
       by that insured, if the "occurrence" which             caused, arising, directly or indirectly, out of:
      caused the "bodily injury" or "property                 (1) War, including undeclared or civil war:
      damage"           involved      the    ownership,       (2) Warlike action by a military force, including
       maintenance, use or entrustment to others of               action in hindering or defending against an
      any aircraft, "auto" or watercraft that is owned            actual or expected attack, by any
      or operated by or rented or loaned to any                   government, sovereign or other authority
       insured.                                                   using military personnel or other agents;
      This exclusion does not apply to:                           or
      (1) A watercraft while ashore on premises you           (3) Insurrection, rebellion, revolution, usurped
          own or rent;                                            power, or action taken by governmental
      (2) A watercraft you do not own that is:                    authority in hindering or defending against
                                                                  any of these.
          (a) Less than 51 feet long; and
                                                           j. Damage To Property
          (b) Not being used to carry persons for a
               charge;                                        "Property damage" to:
      (3) Parking an "auto" on, or on the ways next           (1) Property you own, rent, or occupy,
          to, premises you own or rent, provided the              including any costs or expenses incurred
          "auto" is not owned by or rented or loaned              by you, or any other person, organization
          to you or the insured;                                  or entity, for repair,          replacement,


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           enhancement, restoration or maintenance         m. Damage To Impaired Property Or Property
           of such property for any reason, including         Not Physically Injured
           prevention of injury to a person or damage         "Property damage" to "impaired property" or
           to another's property;                             property that has not been physically injured,
      (2) Premises you sell, give away or abandon,            arising out of:
           if the "property damage" arises out of any         (1) A defect, deficiency, inadequacy or
           part of those premises;                                dangerous condition in "your product" or
      (3) Property loaned to you;                                 "your work"; or
      (4) Personal property in the care, custody or           (2) A delay or failure by you or anyone acting
           control of the insured ;                               on your behalf to perform a contract or
      (5) That particular part of real property on                agreement in accordance with its terms.
           which you or any contractors or                    This exclusion does not apply to the loss of
           subcontractors                                     use of other property arising out of sudden
           working directly or indirectly on your behalf      and accidental physical injury to "your
           are performing operations, if the "property        product" or "your work" after it has been put
           damage" arises out of those operations; or         to its intended use.
      (6) That particular part of any property that
                                                           n. Recall Of Products, Work Or Impaired
           must be restored, repaired or replaced             Property
           because "your work" was incorrectly
           performed on it.                                   Damages claimed for any loss, cost or
                                                              expense incurred by you or others for the loss
       Paragraphs (1), (3) and (4) of this exclusion
                                                              of use, withdrawal, recall, inspection, repair,
      do not apply to "property damage" (other than
                                                              replacement, adjustment, removal or disposal
      damage by fire) to premises, including the
                                                              of:
      contents of such premises, rented to you for a
       period of seven or fewer consecutive days. A           (1) "Your product";
      separate limit of insurance applies to Damage           (2) "Your work"; or
      To Premises Rented To You as described in
                                                              (3) "Impaired property";
      Section Ill - Limits Of Insurance.
                                                              if such product, work, or property is withdrawn
       Paragraph (2) of this exclusion does not apply
                                                              or recalled from the market or from use by
       if the premises are "your work" and were
                                                              any person or organization because of a
       never occupied, rented or held for rental by
                                                              known or suspected defect, deficiency,
      you.
                                                              inadequacy or dangerous condition in it.
       Paragraphs (3) and (4) of this exclusion do
       not apply to "property damage" arising from         o. Personal And Advertising Injury
      the use of elevators.                                   "Bodily injury" arising out of "personal and
       Paragraphs (3), (4), (5) and (6) of this               advertising injury".
      exclusion do not apply to liability assumed          p. Access or Disclosure Of Confidential Or
       under a sidetrack agreement.                           Personal Information And Data-related
       Paragraphs (3) and (4) of this exclusion do            Liability
       not apply to "property damage" to borrowed             Damages arising out of:
      equipment while not being used to perform               (1) Any access to or disclosure of any
      operations at the job site.
                                                                  person's or organization's confidential or
       Paragraph (6) of this exclusion does not apply             personal information, including patents,
      to "property damage" included in the                        trade secrets, processing methods,
      "products-completed operations hazard".                     customer lists, financial information, credit
  k. Damage To Your Product                                       card information, health information or any
      "Property damage" to "your product" arising                 other type of nonpublic information; or
      out of it or any part of it.                            (2) The loss of, loss of use of, damage to,
   I. Damage To Your Work                                         corruption of, inability to access, or
      "Property damage" to "your work" arising out                inability to manipulate electronic data.
      of it or any part of it and included in the             This exclusion applies even if damages are
      "products-completed operations hazard".                 claimed     for   notification costs, credit
      This exclusion does not apply if the damaged            monitoring expenses, forensic expenses,
      work or the work out of which the damage                public relations expenses or any other loss,
      arises was performed on your behalf by a                cost or expense incurred by you or others
      subcontractor.                                          arising out of that which is described in
                                                              Paragraph (1) or (2) above.

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       However, unless Paragraph (1) above                                detoxifying or neutralizing or in any
       applies, this exclusion does not apply to                          way responding to or assessing the
       damages because of "bodily injury".                                effects of an "asbestos hazard".
       As used in this exclusion, electronic data             s. Recording And Distribution Of Material Or
       means information, facts or programs stored                Information In Violation Of Law
       as or on, created or used on, or transmitted to           "Bodily injury" or "property damage" arising
       or from computer software, including systems              directly or indirectly out of any action or
       and applications software, hard or floppy                 omission that violates or is alleged to violate:
       disks, CD-ROMS, tapes, drives, cells, data                (1) The Telephone Consumer Protection Act
       processing devices or any other media which
                                                                      (TCPA) , including any amendment of or
       are used with electronically controlled
                                                                      addition to such law;
       equipment.
                                                                 (2) The CAN-SPAM Act of 2003, including
   q. Employment-Related Practices
                                                                      any amendment of or addition to such law:
       "Bodily injury" to:
                                                                 (3) The Fair Credit Reporting Act (FCRA), and
      (1) A person arising out of any "employment-                    any amendment of or addition to such law,
           related practices"; or                                     including the Fair and Accurate Credit
      (2) The spouse, child, parent, brother or sister                Transaction Act (FACTA); or
           of that person as a consequence of "bodily            (4) Any federal, state or local statute,
           injury" to that person at whom any                         ordinance or regulation, other than the
           "employment-related         practices"    are              TCPA or CAN-SPAM Act of 2003 or FCRA
           directed.                                                  and their amendments and additions, that
       This exclusion applies:                                        addresses, prohibits or limits the printing,
      (1) Whether        the    injury-causing     event              dissemination,       disposal,     collecting,
           described in the definition of "employment-                recording,        sending,      transmitting,
           related      practices"     occurs     before              communicating or distribution of material
           employment, during employment or after                     or information.
           employment of that person;                         Damage To Premises Rented To You -
      (2) Whether the insured may be liable as an             Exception For Damage By Fire, Lightning Or
           employer or in any other capacity; and             Explosion
      (3) To any obligation to share damages with             Exclusions c. through h. and j. through n. do not
           or repay someone else who must pay                 apply to damage by fire, lightning or explosion to
           damages because of the injury.                     premises while rented to you or temporarily
   r. Asbestos                                                occupied by you with permission of the owner. A
                                                              separate limit of insurance applies to this
      (1) "Bodily injury" or "property damage"                coverage as described in Section Ill - Limits Of
           arising out of the "asbestos hazard".              Insurance.
      (2) Any damages, judgments, settlements,             COVERAGE B PERSONAL AND ADVERTISING
           loss, costs or expenses that:                   INJURY LIABILITY
           (a) May be awarded or incurred by reason        1. Insuring Agreement
               of any claim or suit alleging actual or
                                                              a. We will pay those sums that the insured
               threatened injury or damage of any
                                                                  becomes legally obligated to pay as damages
               nature or kind to persons or property
                                                                  because of "personal and advertising injury"
               which would not have occurred in
                                                                 to which this insurance applies . We will have
               whole or in part but for the "asbestos
                                                                 the right and duty to defend the insured
               hazard";
                                                                  against any "suit" seeking those damages.
           (b) Arise out of any request, demand,                  However, we will have no duty to defend the
               order or statutory or regulatory                   insured against any "suit" seeking damages
               requirement that any insured or others             for "personal and advertising injury" to which
               test for, monitor, clean up, remove,              this insurance does not apply. We may, at our
               encapsulate, contain, treat, detoxify or          discretion, investigate any offense and settle
               neutralize or in any way respond to or             any claim or "suit" that may result. But:
               assess the effects of an "asbestos
                                                                 (1) The amount we will pay for damages is
               hazard"; or
                                                                      limited as described in Section Ill - Limits
          (c) Arise out of any claim or suit for                      Of Insurance; and
               damages because of testing for,
                                                                 (2) Our right and duty to defend end when we
               monitoring, cleaning up, removing,
                                                                      have used up the applicable limit of
               encapsulating, containing, treating,
                                                                      insurance in the payment of judgments or


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        settlements under Coverages A or B or             h. Wrong Description Of Prices
        medical expenses under Coverage C.                  "Personal and advertising injury" arising out of
     No other obligation or liability to pay sums or        the wrong description of the price of goods,
     perform acts or services is covered unless             products or services.
     explicitly provided for under Supplementary          i. Infringement    Of       Intellectual   Property
     Payments - Coverages A and B.                           Rights
  b. This insurance applies to "personal and                (1) "Personal and advertising injury" ansmg
     advertising injury" caused by an offense                  out of any actual or alleged infringement
     arising out of your business but only if the              or violation of any intellectual property
     offense was committed in the "coverage                    rights such       as     copyright, patent,
     territory" during the policy period.                      trademark, trade name, trade secret, trade
2. Exclusions                                                  dress, service mark or other designation
  This insurance does not apply to:                            of origin or authenticity; or
  a. Knowing Violation Of Rights Of Another                 (2) Any injury or damage alleged in any clam
                                                                or "suit" that also alleges an infringement
     "Personal and advertising injury" arising out of           or violation of any intellectual property
     an offense committed by, at the direction or               right,   whether such        allegation  of
     with the consent or acquiescence of the                    infringement or violation is made by you or
     insured with the expectation of inflicting                 by any other party involved in the claim or
     "personal and advertising injury".                         "suit",   regardless of whether this
  b. Material Published With Knowledge Of                       insurance would otherwise apply.
     Falsity                                                However, this exclusion does not apply if the
     "Personal and advertising injury" arising out of       only allegation in the claim or "suit" involving
     oral, written or electronic publication, in any        any intellectual property right is limited to:
     manner, of material, if done by or at the              (1) Infringement, in your "advertisement", of:
     direction of the insured with knowledge of its
     falsity.                                                  (a) Copyright;
  c. Material Published Prior To Policy Period                 (b) Slogan; or

     "Personal and advertising injury" arising out of          (c) Title of any literary or artistic work; or
     oral, written or electronic publication, in any        (2) Copying, in your "advertisement", a
     manner, of material whose first publication                person's or organization's "advertising
     took place before the beginning of the policy              idea" or style of "advertisement".
     period.                                              j. Insureds In Media And            Internet   Type
  d. Criminal Acts                                           Businesses
     "Personal and advertising injury" arising out of       "Personal and advertising injury" committed
     a criminal act committed by or at the direction        by an insured whose business is:
     of the insured.                                        (1) Advertising, broadcasting, publishing or
  e. Contractual Liability                                      telecasting;
     "Personal and advertising injury" for which the        (2) Designing or determining content of web
     insured has assumed liability in a contract or            sites for others; or
     agreement. This exclusion does not apply to            (3) An Internet search, access, content or
     liability for damages that the insured would              service provider.
     have in the absence of the contract or
     agreement.                                             However, this exclusion does not apply to
                                                            Paragraphs a., b. and c. of the definition of
   f. Breach Of Contract                                    "personal and advertising injury" under the
     "Personal and advertising injury" arising out of a     Definitions Section.
     breach of contract, except an implied contract to      For the purposes of this exclusion, the placing
     use another's "advertising idea" in your               of frames, borders or links, or advertising, for
     "advertisement".                                       you or others anywhere on the Internet, is not
  g. Quality Or Performance Of Goods - Failure              by itself, considered the business of
     To Conform To Statements                               advertising, broadcasting, publishing or
     "Personal and advertising injury" arising out of       telecasting.
     the failure of goods, products or services to        k. Electronic Chatrooms Or Bulletin Boards
     conform with any statement of quality or               "Personal and advertising injury" arising out of
     performance made in your "advertisement".              an electronic chatroom or bulletin board the


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      insured hosts, owns, or over which the                (4) Computer code, software or programming
      insured exercises control.                                used to enable:
   I. Unauthorized Use Of Another's Name Or                     (a) Your web site; or
      Product                                                   (b) The presentation or functionality of an
      "Personal and advertising injury" arising out of              "advertisement" or other content on
      the unauthorized use of another's name or                     your web site.
      product in your e-mail address, domain name         q. Right Of Privacy Created By Statute
      or metatags, or any other similar tactics to
      mislead another's potential customers.                 "Personal and advertising injury" arising out of
                                                             the violation of a person's right of privacy
  m. Pollution                                               created by any state or federal act.
      "Personal and advertising injury" arising out of       However, this exclusion does not apply to
      the actual, alleged or threatened discharge,           liability for damages that the insured would
      dispersal, seepage, migration, release or              have in the absence of such state or federal
      escape of "pollutants" at any time.                    act.
   n. Pollution-Related                                   r. Violation Of Anti-Trust law
      Any loss, cost or expense arising out of any:          "Personal and advertising injury" arising out of
      (1) Request, demand, order or statutory or             a violation of any anti-trust law.
         regulatory requirement that any insured or       s. Securities
         others test for, monitor, clean up, remove,
         contain, treat, detoxify or neutralize, or in       "Personal and advertising injury" arising out of
         any way respond to, or assess the effects           the fluctuation in price or value of any stocks,
         of, "pollutants"; or                                bonds or other securities.
      (2) Claim or suit by or on behalf of a              t. Recording And Distribution Of Material Or
         governmental authority for damages                  Information In Violation Of Law
         because of testing for, monitoring,                 "Personal and advertising injury" arising
         cleaning      up,    removing,   containing,        directly or indirectly out of any action or
         treating, detoxifying or neutralizing, or in        omission that violates or is alleged to violate:
         any way responding to, or assessing the            (1) The Telephone Consumer Protection Act
         effects of, "pollutants".                              (TCPA), including any amendment of or
   o. War                                                       addition to such law;
      "Personal and advertising injury", however            (2) The CAN-SPAM Act of 2003, including
      caused, arising, directly or indirectly, out of:          any amendment of or addition to such law:
      (1) War, including undeclared or civil war;           (3) The Fair Credit Reporting Act (FCRA), and
      (2) Warlike action by a military force, including         any amendment of or addition to such law,
         action in hindering or defending against an            including the Fair and Accurate Credit
         actual or expected attack, by any                      Transaction Act (FACTA): or
         government, sovereign or other authority           (4) Any federal, state or local statute,
         using military personnel or other agents;              ordinance or regulation, other than the
         or                                                     TCPA or CAN-SPAM Act of 2003 or FCRA
      (3) Insurrection, rebellion, revolution, usurped          and their amendments and additions, that
         power, or action taken by governmental                 addresses, prohibits or limits the printing,
         authority in hindering or defending against            dissemination,     disposal,      collecting,
         any of these.                                          recording,      sending,       transmitting,
                                                                communicating or distribution of material
   p. Internet Advertisements And Content Of                    or information.
      Others
                                                          u. Employment-Related Practices
      "Personal and advertising injury" arising out
      of:                                                    "Personal and advertising injury" to:
      (1) An "advertisement" for others on your web         (1) A person arising out of any "employment-
         site;                                                  related practices"; or
      (2) Placing a link to a web site of others on         (2) The spouse, child, parent, brother or sister
         your web site;                                         of that person as a consequence of
                                                                "personal and advertising injury" to that
      (3) Content,  including information, sounds,              person at whom any "employment-related
         text, graphics, or images from a web site              practices" are directed.
         of others displayed within a frame or
         border on your web site; or

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        This exclusion applies:                           COVERAGE C MEDICAL PAYMENTS
       (1) Whether      the     injury-causing   event    1. Insuring Agreement
           described in the definition of "employment-       a. We will pay medical expenses as described
           related    practices"       occurs   before           below for "bodily injury" caused by an
           employment, during employment or after                accident:
           employment of that person;
                                                                (1) On premises you own or rent;
       (2) Whether the insured may be liable as an
          employer or in any other capacity; and                (2) On ways next to premises you own or
                                                                     rent; or
       (3) To any obligation to share damages with
          or repay someone else who must pay                    (3) Because of your operations;
          damages because of the injury.                         provided that:
  v.   Asbestos                                                 (1) The accident takes place in the "coverage
       (1) "Personal and advertising injury" arising                 territory" and during the policy period;
          out of the "asbestos hazard".                         (2) The expenses are incurred and reported
       (2) Any damages, judgments. settlements,                      to us within three years of the date of the
          loss, costs or expenses that:                              accident; and
          (a) May be awarded or incurred by reason              (3) The       injured    person     submits     to
              of any claim or suit alleging actual or                examination, at our expense, by
              threatened injury or damage of any                     physicians of our choice as often as we
              nature or kind to persons or property                  reasonably require.
              which would not have occurred in               b. We will make these payments regardless of
              whole or in part but for the "asbestos             fault. These payments will not exceed the
              hazard";                                           applicable limit of insurance. We will pay
          (b) Arise out of any request, demand,                  reasonable expenses for:
              order or statutory or regulatory                  (1) First aid administered at the time of an
              requirement that any insured or others                 accident;
              test for. monitor, clean up, remove ,             (2) Necessary medical , surgical, X-ray and
              encapsulate, contain, treat, detoxify or               dental services. including prosthetic
              neutralize or in any way respond to or                 devices; and
              assess the effects of an "asbestos
                                                                (3) Necessary          ambulance,         hospital,
              hazard"; or
                                                                     professional nursing and funeral services.
          (c) Arise out of any claim or suit for
              damages because of testing for,
                                                          2. Exclusions
              monitoring, cleaning up, removing,             We will not pay expenses for "bodily injury":
              encapsulating , containing , treating,         a. Any Insured
              detoxifying or neutralizing or in any
                                                                To any insured, except "volunteer workers".
              way responding to or assessing the
              effects of an "asbestos hazard".               b. Hired Person
 w. Access Or Disclosure Of Confidential Or                     To a person hired to do work for or on behalf
       Personal Information                                     of any insured or a tenant of any insured.
       "Personal and advertising injury" arising out of      c. Injury On Normally Occupied Premises
       any access to or disclosure of any person's or           To a person injured on that part of premises
       organization's    confidential   or personal             you own or rent that the person normally
       information, including patents, trade secrets,           occupies.
       processing methods, customer lists, financial
                                                             d. Workers Compensation And Similar Laws
       information, credit card information, health
       information or any other type of nonpublic               To a person, whether or not an "employee" of
       information.                                             any insured, if benefits for the "bodily injury" are
                                                                payable or must be provided under a workers'
       Th is exclusion applies even if damages are
                                                                compensation or disability benefits law or a
       claimed     for   notification costs,   credit
                                                                similar law.
       monitoring expenses. fo rens ic expenses ,
       public relations expenses or any other loss ,         e. Athletics Activities
       cost or expense incurred by you or others                To a person injured while practicing ,
       arising out of any access to or disclosure of            instructing or participating in any physical
       any person's or organization's confidential or           exercises or games, sports, or athletic
       personal information.                                    contests.


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    f. Products-Completed Operations Hazard                    assumed by the insured in the same "insured
      Included within the "products-completed                  contract";
      operations hazard".                                   d. The allegations in the "suit" and the
   g. Coverage A Exclusions                                    information we know about the "occurrence"
                                                               are such that no conflict appears to exist
      Excluded under Coverage A.
                                                               between the interests of the insured and the
SUPPLEMENTARY PAYMENTS - COVERAGES                             interests of the indemnitee;
AAND B
                                                            e. The indemnitee and the insured ask us to
1. We will pay, with respect to any claim we
                                                               conduct and control the defense of that
   investigate or settle, or any "suit" against an
                                                               indemnitee against such "suit" and agree that
   insured we defend:
                                                               we can assign the same counsel to defend
   a. All expenses we incur.                                   the insured and the indemnitee; and
   b. Up to $1 ,000 for cost of bail bonds required         f. The indemnitee:
        because of accidents or traffic law violations
                                                               (1) Agrees in writing to:
        arising out of the use of any vehicle to which
        the Bodily Injury Liability Coverage applies.             (a) Cooperate with us in the investigation,
        We do not have to furnish these bonds.                        settlement or defense of the "suit";
   c. The cost of appeal bonds or bonds to release                (b) Immediately send us copies of any
        attachments, but only for bond amounts                        demands, notices, summonses or legal
        within the applicable limit of insurance. We do               papers received in connection with the
        not have to furnish these bonds.                              "suit";
   d. All reasonable expenses incurred by the                     (c) Notify any other insurer whose
        insured at our request to assist us in the                    coverage     is available to the
        investigation or defense of the claim or "suit",              indemnitee; and
        including actual loss of earnings up to $500 a            (d) Cooperate with us with respect to
        day because of time off from work.                            coordinating      other      applicable
   e. All court costs taxed against the insured in                    insurance available to the indemnitee;
        the "suit".      However, such costs do not                   and
        include attorneys' fees, attorneys' expenses,
                                                               (2) Provides us with written authorization to:
        witness or expert fees, or any other expenses
        of a party taxed to the insured.                          (a) Obtain records and other information
                                                                      related to the "suit"; and
    f. Prejudgment interest awarded against the
        insured on that part of the judgment we pay. If           (b) Conduct and control the defense of the
        we make an offer to pay the applicable limit of               indemnitee in such "suit".
        insurance, we will not pay any prejudgment          So long as the above conditions are met,
        interest based on that period of time after the     attorneys' fees incurred by us in the defense of
        offer.                                              that indemnitee, necessary litigation expenses
   g. All interest on the full amount of any judgment       incurred by us and necessary litigation expenses
        that accrues after entry of the judgment and        incurred by the indemnitee at our request will be
        before we have paid, offered to pay, or             paid       as       Supplementary      Payments.
        deposited in court the part of the judgment         Notwithstanding the provisions of Paragraph
        that is within the applicable limit of insurance.   2.b.(2) of Section I - Coverage A - Bodily Injury
   These payments will not reduce the limits of             And Property Damage Liability, such payments
   insurance.                                               will not be deemed to be damages for "bodily
                                                            injury" and "property damage" and will not reduce
2. If we defend an insured against a "suit" and an
                                                            the limits of insurance.
   indemnitee of the insured is also named as a
   party to the "suit", we will defend that indemnitee      Our obligation to defend an insured's indemnitee
   if all of the following conditions are met:              and to pay for attorneys' fees and necessary
   a. The "suit" against the indemnitee seeks               litigation expenses as Supplementary Payments
        damages for which the insured has assumed           ends when:
        the liability of the indemnitee in a contract or    a. We have used up the applicable limit of
        agreement that is an "insured contract";                 insurance in the payment of judgments or
   b. This insurance applies to such liability                   settlements; or
        assumed by the insured;                             b. The conditions set forth above, or the terms of
   c. The obligation to defend, or the cost of the               the agreement described in Paragraph f.
        defense of, that indemnitee, has also been               above, are no longer met.



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SECTION II - WHO IS AN INSURED                                     "volunteer worker" as a consequence
1. If you are designated in the Declarations as:                   of Paragraph (1 )(a) above;
   a. An individual, you and your spouse are                    (c) For which there is any obligation to
      insureds, but only with respect to the conduct                share damages with or repay someone
      of a business of which you are the sole                       else who must pay damages because
      owner.                                                        of the injury described in Paragraphs
                                                                    (1 )(a) or (1 )(b) above; or
   b. A partnership or joint venture, you are an
      insured. Your members, your partners, and                 (d) Arising out of his or her providing or
      their spouses are also insureds, but only with               failing to provide professional health
      respect to the conduct of your business.                     care services.
   c. A limited liability company, you are an                   If you are not in the business of providing
      insured. Your members are also insureds, but              professional health care services:
      only with respect to the conduct of your                  (a) Sub paragraphs (1 )(a), (1 )(b) and (1 )(c)
      business. Your managers are insureds, but                    above do not apply to any "employee"
      only with respect to their duties as your                    or "volunteer worker'' providing first aid
      managers.                                                    services;and
   d. An organization other than a partnership, joint           (b) Subparagraph (1 )(d) above does not
      venture or limited liability company, you are                apply to any nurse, emergency medical
      an insured. Your "executive officers" and                    technician or paramedic employed by
      directors are insureds, but only with respect to             you to provide such services.
      their duties as your officers or directors. Your      (2) "Property damage" to property:
      stockholders are also insureds, but only with
                                                                (a) Owned, occupied or used by,
      respect to their liability as stockholders.
   e. A trust, you are an insured. Your trustees are            (b) Rented to, in the care, custody or
      also insureds, but only with respect to their                control of, or over which physical
      duties as trustees.                                          control is being exercised for any
                                                                   purpose by
2. Each of the following is also an insured:
                                                                you, any of your "employees", "volunteer
   a. Employees And Volunteer Workers                           workers", any partner or member (if you
      Your "volunteer workers"           only while             are a partnership or joint venture), or any
      performing duties related to the conduct of               member (if you are a limited liability
      your business, or your "employees", other                 company).
      than either your "executive officers" (if you are   b. Real Estate Manager
      an organization other than a partnership, joint
      venture or limited liability company) or your         Any person (other than your "employee" or
      managers (if you are a limited liability              "volunteer worker"), or any organization while
      company), but only for acts within the scope          acting as your real estate manager.
      of their employment by you or while                 c. Temporary Custodians Of Your Property
      performing duties related to the conduct of            Any person or organization having proper
      your business.                                         temporary custody of your property if you die,
      However, none of these "employees" or                  but only:
      "volunteer workers" are insureds for:                 (1) With respect to liability arising out of the
      (1) "Bodily injury" or "personal and advertising          maintenance or use of that property; and
          injury":                                          (2) Until your legal representative has been
          (a) To you, to your partners or members (if           appointed.
             you are a partnership or joint venture),     d. Legal Representative If You Die
             to your members (if you are a limited
                                                            Your legal representative if you die, but only
             liability company), to a co-"employee"
                                                            with respect to duties as such. That
             while in the course of his or her
                                                            representative will have all your rights and
             employment or performing duties
                                                            duties under this Coverage Part.
             related to the conduct of your
             business, or to your other "volunteer        e. Unnamed Subsidiary
             workers" while performing duties               Any subsidiary, and subsidiary thereof, of
             related to the conduct of your                 yours which is a legally incorporated entity of
             business;                                      which you own a financial interest of more
          (b) To the spouse, child, parent, brother or      than 50% of the voting stock on the effective
              sister of that co-"employee" or that          date of the Coverage Part.


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       The insurance afforded herein for any              A person or organization is an additional insured
       subsidiary not named in this Coverage Part         under this provision only for that period of time
       as a named insured does not apply to injury        required by the contract or agreement.
       or damage with respect to which such insured       However, no such person or organization is an
       is also a named insured under another policy       insured under this provision if such person or
       or would be a named insured under such             organization is included as an insured by an
       policy but for its termination or the exhaustion   endorsement issued by us and made a part of
       of its limits of insurance.                        this Coverage Part.
3. Newly Acquired Or Formed Organization                  a. Vendors
   Any organization you newly acquire or form,                Any person(s) or organization(s) (referred to
   other than a partnership, joint venture or limited          below as vendor), but only with respect to
   liability company, and over which you maintain              "bodily injury" or "property damage" arising
   financial interest of more than 50% of the voting           out of "your products" which are distributed or
   stock, will qualify as a Named Insured if there is         sold in the regular course of the vendor's
   no other similar insurance available to that                business and only if this Coverage Part
   organization. However:                                      provides coverage for "bodily injury" or
   a. Coverage under this provision is afforded only           "property damage" included within the
       until the 180th day after you acquire or form           "products-completed operations hazard".
       the organization or the end of the policy              (1) The insurance afforded the vendor is
       period, whichever is earlier;                               subject to the following additional
   b. Coverage A does not apply to "bodily injury"                 exclusions:
       or "property damage" that occurred before                   This insurance does not apply to:
       you acquired or formed the organization; and
                                                                   (a) "Bodily injury" or "property damage" for
   c. Coverage B does not apply to "personal and                       which the vendor is obligated to pay
       advertising injury" arising out of an offense                   damages by reason of the assumption
       committed before you acquired or formed the                     of liability in a contract or agreement.
       organization.                                                   This exclusion does not apply to
4. Nonowned Watercraft                                                 liability for damages that the vendor
   With respect to watercraft you do not own that is                   would have in the absence of the
   less than 51 feet long and is not being used to                     contract or agreement;
   carry persons for a charge, any person is an                    (b) Any express warranty unauthorized by
   insured while operating such watercraft with your                   you;
   permission. Any other person or organization                    (c) Any physical or chemical change in the
   responsible for the conduct of such person is                       product made intentionally by the
   also an insured, but only with respect to liability                 vendor;
   arising out of the operation of the watercraft, and
                                                                   (d) Repackaging, except when unpacked
   only if no other insurance of any kind is available
                                                                       solely for the purpose of inspection,
   to that person or organization for this liability.
                                                                       demonstration,       testing,    or   the
   However, no person or organization is an insured                    substitution of parts under instructions
   with respect to:                                                    from the manufacturer, and then
   a. "Bodily injury" to a co-"employee" of the                        repackaged in the original container;
       person operating the watercraft; or                        (e) Any failure to make such inspections,
   b. "Property damage" to property owned by,                          adjustments, tests or servicing as the
       rented to, in the charge of or occupied by you                  vendor has agreed to make or normally
       or the employer of any person who is an                         undertakes to make in the usual
       insured underthis provision.                                    course of business, in connection with
5. Additional Insureds When Required By                                the distribution or sale of the products;
   Written Contract, Written Agreement Or                          (f) Demonstration, installation, servicing
   Permit                                                              or repair operations, except such
   The following person(s) or organization(s) are an                   operations performed at the vendor's
   additional insured when you have agreed, in a                       premises in connection with the sale of
   written contract, written agreement or because of                   the product;
   a permit issued by a state or political subdivision,           (g) Products which, after distribution or
   that such person or organization be added as an                     sale by you, have been labeled or
   additional insured on your policy, provided the                     relabeled or used as a container, part
   injury or damage occurs subsequent to the                           or ingredient of any other thing or
   execution of the contract or agreement.                             substance by or for the vendor; or


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         (h) "Bodily injury" or "property damage"                omissions of those acting on your behalf:
              arising out of the sole negligence of the          (1) In connection with your premises; or
              vendor for its own acts or omissions or            (2) In the performance of your ongoing
              those of its employees or anyone else                    operations performed by you or on your
              acting on its behalf. However, this                      behalf.
              exclusion does not apply to:
                                                                  With respect to the insurance afforded these
              (i) The exceptions contained in Sub-                additional insureds, the following additional
                   paragraphs (d) or (f); or                      exclusion applies:
             (ii) Such inspections, adjustments,                  This insurance does not apply to "bodily
                  tests or servicing as the vendor has            injury", "property damage" or "personal ~nd
                   agreed to make or normally                     advertising injury" arising out of the rendering
                   undertakes to make in the usual                of or the failure to render any professional
                   course of business, in connection              services by or for you, including:
                   with the distribution or sale of the
                                                                  1. The preparing, approving, or failing to
                   products.                                           prepare or approve, maps, shop drawings,
    (2) This insurance does not apply to any                           opinions, reports, surveys, field orders,
          insured person or organization, from                         change       orders     or    drawings    and
          whom you have acquired such products,                        specifications; or
          or any ingredient, part or container,                    2. Supervisory, inspection, architectural or
          entering into, accompanying or containing
                                                                       engineering activities.
          such products.
                                                                  This exclusion applies even if the claims
 b. Lessors Of Equipment
                                                                   against any insured allege n~g!igenc~- or
    (1) Any person(s) or organization(s) fr~m                      other wrongdoing in the superv,s,on , hmng,
          whom you lease equipment; but only with                  employment, training or monitoring of others
           respect to the ir liability for "bodily injury",        by that insured , if the "occurrence" which
           "property damage'' or "personal and                     caused the "bodily injury" or "property
           advertising injury" caused, in whole or 1n              damage", or the offense which caused the
           part, by your maintenance, operation or                 "personal and advertising injury", involved the
           use of equipment leased to you by such                  rendering of or the failure to render any
           person(s) or organization(s).                           professional services by or for you.
     (2) With respect to the insurance afforded to            e. Permits Issued By State Or Political
           these additional insureds this insurance                Subdivisions
           does not apply to any "occurrence" which
                                                                   Any state or political subdivision , but only with
           takes place after the equipment lease
                                                                   respect to operations performed by you or on
           expires.                                                your behalf for which the state or political
 c. Lessors Of Land Or Premises                                    subdivision has issued a permit.
      Any person or organization from ~horn you                    With respect to the insurance afforded these
      lease land or premises, but only with respect                 additional insureds, this insurance does not
      to liability arising out of the ownership,                    apply to:
      maintenance or use of that part of the land or
                                                                   (1) "Bodily injury", "property damage" or
      premises leased to you .                                          "personal and advertising injury" arising
      With respect to the insurance afforded these                      out of operations performed for the state
      additional insureds the following additional                      or municipality; or
      exclusions apply:                                            (2) "Bodily injury" or "property damage"
      This insurance does not apply to:                                 included within the "products-completed
       1. Any "occurrence" which takes place after                      operations hazard".
            you cease to lease that land; or                   f. Any Other Party
       2. Structural alterations, new construction or               Any other person or organization who is not
            demolition operations performed by or on                an additional insured under Paragraphs a.
            behalf of such person or organization .                 through e. above, but only with respect to
  d. Architects, Engineers Or Surveyors                             liability for "bodily injury", "property damage"
       Any architect, engineer, or surveyor, but only               or "personal and advertising injury" caused, in
       with respect to liability for "bodily injury",               whole or in part, by your acts or omissions or
       "property damage" or "personal                   and         the acts or omissions of those acting on your
       advertising injury" caused. in whole or in part,             behalf:
       by your acts or omissions or the acts or                     (1) In the performance of your ongoing
                                                                         operations;


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      (2) In connection with your premises owned            No person or organization is an insured with respect
          by or rented to you; or                           to the conduct of any current or past partnership,
      (3) In   connection with "your work" and              joint venture or limited liability company that is not
          included within the "products-completed           shown as a Named Insured in the Declarations.
          operations hazard", but only if                   SECTION Ill - LIMITS OF INSURANCE
          (a) The    written contract or agreement          1. The Most We Will Pay
               requires you to provide such coverage           The Limits of Insurance shown in the
               to such additional insured; and                 Declarations and the rules below fix the most we
          (b) This Coverage Part provides coverage             will pay regardless of the number of:
               for "bodily injury" or "property damage"        a. Insureds;
               included      within     the    "products-
               completed operations hazard".                   b. Claims made or "suits" brought; or

      However:                                                 c. Persons or organizations making claims or
                                                                  bringing "suits".
      (1) The insurance afforded to such additional
          insured only applies         to   the   extent    2. General Aggregate Limit
          permitted by law; and                                The General Aggregate Limit is the most we will
      (2) If coverage provided to the additional               pay for the sum of:
         insured is required by a contract or                  a. Medical expenses under Coverage C;
         agreement, the insurance afforded to such             b. Damages      under Coverage A, except
         additional insured will not be broader than               damages because of "bodily injury" or
         that which you are required by the contract               "property damage" included in the "products-
         or agreement to provide for such                          completed operations hazard"; and
         additional insured.
                                                               c. Damages under Coverage B.
      With respect to the insurance afforded to
                                                            3. Products-Completed       Operations    Aggregate
      these additional insureds, this insurance does
                                                               Limit
      not apply to:
      "Bodily injury",    "property damage" or                 The Products-Completed Operations Aggregate
                                                               Limit is the most we will pay under Coverage A
      "personal and advertising injury" arising out of
                                                               for damages because of "bodily injury" and
      the rendering of, or the failure to render, any
                                                               "property damage" included in the "products-
      professional architectural, engineering or
                                                               completed operations hazard".
      surveying services, including:
                                                            4. Personal And Advertising Injury Limit
      (1) The preparing, approving, or failing to
          prepare or approve, maps, shop drawings,             Subject to 2. above, the Personal and
          opinions, reports, surveys, field orders,            Advertising Injury Limit is the most we will pay
          change      orders    or drawings     and            under Coverage B for the sum of all damages
          specifications; or                                   because of all "personal and advertising injury"
      (2) Supervisory, inspection, architectural or
                                                               sustained by any one person or organization.
          engineering activities.                           5. Each Occurrence Limit
      This exclusion applies even if the claims                Subject to 2. or 3. above, whichever applies, the
      against any insured allege negligence or                 Each Occurrence Limit is the most we will pay for
      other wrongdoing in the supervision, hiring,             the sum of:
      employment, training or monitoring of others             a. Damages under Coverage A; and
      by that insured, if the "occurrence" which
                                                               b. Medical expenses under Coverage C
      caused the "bodily injury" or "property
      damage", or the offense which caused the                 because of all "bodily injury" and "property
      "personal and advertising injury", involved the          damage" arising out of any one "occurrence".
      rendering of or the failure to render any             6. Damage To Premises Rented To You Limit
      professional services by or for you.
                                                               Subject to 5. above, the Damage To Premises
   The limits of insurance that apply to additional            Rented To You Limit is the most we will pay
   insureds is described in Section Ill - Limits Of            under Coverage A for damages because of
   Insurance.                                                  "property damage" to any one premises, while
   How this insurance applies when other insurance             rented to you, or in the case of damage by fire,
   is available to the additional insured is described         lightning or explosion, while rented to you or
   in the other Insurance Condition in Section IV -            temporarily occupied by you with permission of
   Commercial General Liability Conditions.                    the owner.



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   In the case of damage by fire, lightning or           b. Notice Of Claim
   explosion, the Damage to Premises Rented To              If a claim is made or "suit" is brought against
   You Limit applies to all damage proximately              any insured, you or any additional insured
   caused by the same event, whether such                   must:
   damage results from fire, lightning or explosion
   or any combination of these .                           (1) Immediately record the specifics of the
                                                               claim or "suit" and the date received ; and
7. Medical Expense Limit
                                                           (2) Notify us as soon as practicable.
   Subject to 5. above, the Medical Expense Limit is
   the most we will pay under Coverage C for all           You or any additional insured must see to it
   medical expenses because of "bodily injury"             that we receive written notice of the claim or
   sustained by any one person.                            "suit" as soon as practicable.
8. How Limits Apply To Additional Insureds               c. Assistance        And   Cooperation    Of    The
                                                            Insured
   If you have agreed in a written contract or written
   agreement that another person or organization            You and any other involved insured must:
   be added as an additional insured on your policy,       (1) Immediately     send us copies of any
   the most we will pay on behalf of such additional           demands, notices. summonses or legal
   insured is the lesser of:                                   papers received in connection with the
   a. The limits of insurance specified in the written         claim or "suit";
      contract or written agreement; or                    (2) Authorize us to obtain records and other
    b. The Limits of Insurance shown in the                    information;
        Declarations.                                      (3) Cooperate with us in the investigation or
    Such amount shall be a part of and not in                  settlement of the claim or defense against
    addition to Limits of Insurance shown in the               the "suit"; and
    Declarations and described in this Section.            (4) Assist us , upon our request. in the
The Limits of Insurance of this Coverage Part apply            enforcement of any right against any person
separately to each consecutive annual period and to            or organization which may be liable to the
any remaining period of less than 12 months ,                  insured because of injury or damage to
starting with the beginning of the policy period               which this insurance may also apply.
shown in the Declarations, unless the policy period      d. Obligations At The Insureds Own Cost
is extended after issuance for an additional period of     No insured will, except at that insured's own
less than 12 months. In that case, the additional          cost. voluntarily make a payment, assume
period will be deemed part of the last preceding           any obligation, or incur any expense, other
period for purposes of determining the Limits of           than for first aid , without our consent.
Insurance.
                                                         e. Additional Insureds Other Insurance
SECTION    IV     COMMERCIAL              GENERAL
LIABILITY CONDITIONS                                       If we cover a claim or "suit" under this
                                                           Coverage Part that may also be covered by
1. Bankruptcy                                              other insurance available to an additional
   Bankruptcy or insolvency of the insured or of the       insured , such additional insured must submit
   insured's estate will not relieve us of our             such claim or "suit" to the other insurer for
   obligations under this Coverage Part.                   defense and indemnity.
2. Duties In The Event Of Occurrence, Offense,             However, this provision does not apply to the
   Claim or Suit                                           extent that you have agreed in a written
   a. Notice Of Occurrence Or Offense                      contract or written agreement that this
       You or any additional insured must see to it        insurance is primary and non-contributory
       that we are notified as soon as practicable of      with the additional insured's own insurance.
       an "occurrence" or an offense which may           f. Knowledge Of An Occurrence, Offense,
       result in a claim . To the extent possible,          Claim Or Suit
       notice should include :
                                                           Paragraphs a. and b. apply to you or to any
      (1) How, when and where the "occurrence" or          additional   insured      only     when       such
          offense took place;                              "occurrence", offense , claim or ''suit" is known
      (2) The names and addresses of any injured           to:
          persons and witnesses; and                       (1) You or any additional insured that is an
      (3) The nature and location of any injury or             individual ;
          damage arising out of the "occu rrence" or       (2) Any partner, if you or the          additional
          offense.                                             insured is a partnership;


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      (3) Any manager, if you or the additional          (3) Tenant Liability
          insured is a limited liability company;           That is insurance purchased by you to
      (4) Any "executive officer'' or insurance             cover your liability as a tenant for
          manager, if you or the additional insured is      "property damage" to premises rented to
          a corporation;                                    you or temporarily occupied by you with
      (5) Any trustee, if you or the additional             permission of the owner;
          insured is a trust; or                         (4) Aircraft, Auto Or Watercraft
      (6) Any elected or appointed official, if you or      If the loss arises out of the maintenance or
          the additional insured is a political             use of aircraft, "autos" or watercraft to the
          subdivision or public entity.                     extent not subject to Exclusion g. of
   This duty applies separately to you and any              Section I - Coverage A - Bodily Injury And
   additional insured.                                      Property Damage Liability;
3. Legal Action Against Us                               (5) Property  Damage      To    Borrowed
                                                             Equipment Or Use Of Elevators
   No person or organization has a right under this
   Coverage Part:                                           If the loss arises out of "property damage"
                                                            to borrowed equipment or the use of
   a. To join us as a party or otherwise bring us
                                                            elevators to the extent not subject to
      into a "suit" asking for damages from an              Exclusion j. of Section I - Coverage A -
      insured; or                                           Bodily Injury And Property Damage
   b. To sue us on this Coverage Part unless all of         Liability;
      its terms have been fully complied with.           (6) When You Are Added As An Additional
   A person or organization may sue us to recover            Insured To Other Insurance
   on an agreed settlement or on a final judgment            Any other insurance available to you
   against an insured; but we will not be liable for         covering liability for damages arising out
   damages that are not payable under the terms of           of the premises or operations, or products
   this Coverage Part or that are in excess of the           and completed operations, for which you
   applicable limit of insurance. An agreed                  have been added as an additional insured
   settlement means a settlement and release of              by that insurance; or
   liability signed by us, the insured and the
   claimant or the claimant's legal representative.      (7) When You Add Others As An
                                                             Additional Insured To This Insurance
4. Other Insurance
                                                            Any other insurance available to an
   If other valid and collectible insurance is              additional insured.
   available to the insured for a loss we cover under
   Coverages A or B of this Coverage Part, our              However, the following provisions apply to
   obligations are limited as follows:                      other insurance available to any person or
                                                            organization who is an additional insured
   a. Primary Insurance                                     under this coverage part.
      This insurance is primary except when b.              (a) Primary Insurance When Required
      below applies. If other insurance is also                 By Contract
      primary, we will share with all that other
      insurance by the method described in c.                  This insurance is primary if you have
      below.                                                   agreed in a written contract or written
                                                               agreement that this insurance be
   b. Excess Insurance                                         primary. If other insurance is also
      This insurance is excess over any of the other           primary, we will share with all that
      insurance,     whether    primary,     excess,           other insurance by the method
      contingent or on any other basis:                        described in c. below.
      (1) Your Work                                         (b) Primary And Non-Contributory To
         That is Fire, Extended Coverage, Builder's             Other Insurance When Required By
         Risk, Installation Risk or similar coverage            Contract
         for "your work";                                      If you have agreed in a written
     (2) Premises Rented To You                                contract, written agreement, or permit
                                                               that this insurance is primary and non-
         That is fire, lightning or explosion
                                                               contributory    with    the    additional
         insurance for premises rented to you or
                                                               insured's own insurance, this insurance
         temporarily occupied by you         with
                                                               is primary and we will not seek
         permission of the owner;
                                                               contribution from that other insurance.



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          Paragraphs (a) and (b) do not apply to              computation, and send us copies at such
          other insurance to which the additional             times as we may request.
          insured has been added as an additional        6. Representations
          insured.
                                                            a. When You Accept This Policy
     When this insurance is excess, we will have
                                                               By accepting this policy, you agree:
      no duty under Coverages A or B to defend
     the insured against any "suit" if any other              (1) The statements in the Declarations are
      insurer has a duty to defend the insured                    accurate and complete;
     against that "suit". If no other insurer defends,        (2) Those   statements are based upon
     we will undertake to do so, but we will be                   representations you made to us; and
     entitled to the insured's rights against all
                                                              (3) We have issued this policy in reliance
     those other insurers.
                                                                  upon your representations.
     When this insurance is excess over other
                                                            b. Unintentional Failure To Disclose Hazards
      insurance, we will pay only our share of the
     amount of the loss, if any, that exceeds the             If unintentionally you should fail to disclose all
     sum of:                                                  hazards relating to the conduct of your
     (1) The total amount that all such other                 business that exist at the inception date of
         insurance would pay for the loss in the              this Coverage Part, we shall not deny
         absence of this insurance; and                       coverage under this Coverage Part because
                                                              of such failure.
     (2) The total of all deductible and self-insured
         amounts under all that other insurance.         7. Separation Of Insureds
     We will share the remaining loss, if any, with        Except with respect to the Limits of Insurance,
     any other insurance that is not described in          and any rights or duties specifically assigned in
     this Excess Insurance provision and was not           this Coverage Part to the first Named Insured,
      bought specifically to apply in excess of the        this insurance applies:
      Limits of Insurance shown in the Declarations         a. As if each Named Insured were the only
     of this Coverage Part.                                    Named Insured; and
  c. Method Of Sharing                                      b. Separately to each insured against whom
     If all of the other insurance permits                     claim is made or "suit" is brought.
     contribution by equal shares, we will follow        8. Transfer Of Rights      Of Recovery Against
     this method also. Under this approach each             Others To Us
     insurer contributes equal amounts until it has
     paid its applicable limit of insurance or none         a. Transfer Of Rights Of Recovery
     of the loss remains, whichever comes first.              If the insured has rights to recover all or part
     If any of the other insurance does not permit            of any payment, including Supplementary
     contribution by equal shares, we will                    Payments, we have made under this
     contribute by limits. Under this method, each            Coverage Part, those rights are transferred to
     insurer's share is based on the ratio of its             us. The insured must do nothing after loss to
     applicable limit of insurance to the total               impair them. At our request, the insured will
     applicable limits of insurance of all insurers.          bring "suit" or transfer those rights to us and
                                                              help us enforce them.
5. Premium Audit
                                                            b. Waiver Of Rights Of Recovery (Waiver Of
  a. We    will compute all premiums for this
                                                               Subrogation)
     Coverage Part in accordance with our rules
     and rates.                                               If the insured has waived any rights of
  b. Premium shown in this Coverage Part as                   recovery against any person or organization
     advance premium is a deposit premium only.               for all or part of any payment, including
     At the close of each audit period we will                Supplementary Payments, we have made
     compute the earned premium for that period               under this Coverage Part, we also waive that
     and send notice to the first Named Insured.              right, provided the insured waived their rights
     The due date for audit and retrospective                 of recovery against such person or
     premiums is the date shown as the due date               organization in a contract, agreement or
     on the bill. If the sum of the advance and               permit that was executed prior to the injury or
     audit premiums paid for the policy period is             damage.
     greater than the earned premium, we will            9. When We Do Not Renew
     return the excess to the first Named Insured.         If we decide not to renew this Coverage Part, we
  c. The first Named Insured must keep records of          will mail or deliver to the first Named Insured
     the information we need for premium                   shown in the Declarations written notice of the


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     nonrenewal not less than 30 days before the             c. All other parts of the world if the injury or
     expiration date.                                            damage arises out of:
     If notice is mailed, proof of mailing will be              (1) Goods or products made or sold by you in
     sufficient proof of notice.                                    the territory described in a. above;
SECTION V - DEFINITIONS                                         (2) The activities of a person whose home is
1. "Advertisement" means the widespread public                      in the territory described in a. above, but is
   dissemination of information or images that has                  away for a short time on your business; or
   the purpose of inducing the sale of goods,                   (3) "Personal and advertising injury" offenses
   products or services through:                                    that take place through the Internet or
      a. (1) Radio;                                                 similar electronic means of communication
         (2) Television;                                     provided the insured's responsibility to pay
                                                             damages is determined in the United States of
         (3) Billboard;                                      America (including its territories and possessions),
         (4) Magazine;                                       Puerto Rico or Canada, in a "suit" on the merits
         (5) Newspaper; or                                   according to the substantive law in such territory or
                                                             in a settlement we agree to.
     b. Any other publication that is given widespread
          public distribution.                            7. "Employee"   includes a "leased worker".
                                                             "Employee" does not include a "temporary
     However, "advertisement" does not include:
                                                             worker".
     a. The design, printed material, information or      8. "Employment-Related Practices" means:
          images contained in, on or upon the
          packaging or labeling of any goods or              a. Refusal to employ that person;
          products; or                                       b. Termination of that person's employment; or
     b. An interactive conversation between or               c. Employment-related practices, policies, acts
         among persons through a computer network.               or omissions,      such as coercion, demotion,
2.   "Advertising idea" means any idea for an                    evaluation,         reassignment,    discipline,
     "advertisement".                                            defamation,          harassment,    humiliation,
                                                                 discrimination      or malicious prosecution
3.   "Asbestos hazard" means an exposure or
                                                                 directed at that   person.
     threat of exposure to the actual or alleged
     properties of asbestos and includes the mere         9. "Executive officer" means a person holding any
     presence of asbestos in any form.                       of the officer positions created by your charter,
                                                             constitution, by-laws or any other similar
4.   "Auto" means:
                                                             governing document.
     a. A land motor vehicle, trailer or semitrailer
                                                          10. "Hostile   fire" means one which becomes
         designed for travel on public roads, including
                                                              uncontrollable or breaks out from where it was
         any attached machinery or equipment; or
                                                              intended to be.
     b. Any other land vehicle that is subject to a
                                                          11. "Impaired property" means tangible property,
         compulsory or financial responsibility law or
                                                              other than "your product" or "your work", that
         other motor vehicle insurance law where it is        cannot be used or is less useful because:
          licensed or principally garaged.
                                                              a. It incorporates "your product" or "your work"
     However, "auto" does not include "mobile
                                                                  that is known or thought to be defective,
     equipment".
                                                                  deficient, inadequate or dangerous; or
5.   "Bodily injury" means physical:
                                                              b. You have failed to fulfill the terms of a
     a. Injury;                                                   contract or agreement;
     b. Sickness; or                                          if such property can be restored to use by the
     c. Disease                                               repair, replacement, adjustment or removal of
     sustained by a person and, if arising out of the         "your product" or "your work", or your fulfilling the
     above, mental anguish or death at any time.              terms of the contract or agreement.
6.   "Coverage territory" means:                          12. "Insured contract" means:
     a. The United States of America (including its           a. A contract for a lease of premises. However,
         territories and possessions), Puerto Rico and            that portion of the contract for a lease of
         Canada;                                                  premises that indemnifies any person or
     b. International waters or airspace, but only if             organization for damage by fire, lightning or
         the injury or damage occurs in the course of             explosion to premises while rented to you or
         travel or transportation between any places              temporarily occupied by you with permission
          included in a. above; or                                of the owner is subject to the Damage to

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       Premises Rented To You Limit described in             14. "Loading or unloading" means the handling of
       Section Ill - Limits of Insurance;                        property:
    b. A sidetrack agreement;                                   a. After it is moved from the place where it is
   c. Any         easement or license agreement,                   accepted for movement into or onto an
         including an easement or license agreement                aircraft, watercraft or "auto";
         in connection with construction or demolition          b. While it is in or on an aircraft, watercraft or
        operations on or within 50 feet of a railroad;             "auto"; or
    d. An obligation, as required by ordinance, to              c. While it is being moved from an aircraft,
         indemnify a municipality, except in connection            watercraft or "auto" to the place where it is
        with work for a municipality;                              finally delivered;
    e. An elevator maintenance agreement;                       but "loading or unloading" does not include the
     f. That part of any other contract or agreement            movement of property by means of a mechanical
         pertaining to your business (including an              device, other than a hand truck, that is not
         indemnification of a municipality in connection        attached to the aircraft, watercraft or "auto".
        with work performed for a municipality) under        15. "Mobile equipment" means any of the following
        which you assume the tort liability of another
                                                                 types of land vehicles, including any attached
         party to pay for "bodily injury" or "property
                                                                 machinery or equipment:
        damage" to a third person or organization,
         provided the "bodily injury" or "property              a. Bulldozers, fam, machinery, forklifts and other
        damage" is caused, in whole or in part, by                 vehicles designed for use principally off public
        you or by those acting on your behalf. Tort                roads;
         liability means a liability that would be              b. Vehicles maintained for use solely on or next
         imposed by law in the absence of any                      to premises you own or rent;
        contract or agreement.                                  c. Vehicles that travel on crawler treads;
         Paragraph f. includes that part of any contract
                                                                d. Vehicles, whether self-propelled or not,
         or agreement that indemnifies a railroad for
                                                                   maintained primarily to provide mobility to
         "bodily injury" or "property damage" arising
                                                                   permanently mounted:
         out of construction or demolition operations,
        within 50 feet of any railroad property and                (1) Power cranes, shovels, loaders, diggers or
         affecting any railroad bridge or trestle, tracks,             drills; or
         road-beds, tunnel, underpass or crossing.                 (2) Road     construction or    resurfacing
         However, Paragraph f. does not include that                   equipment such as graders, scrapers or
         part of any contract or agreement:                            rollers;
        (1) That indemnifies an architect, engineer or          e. Vehicles not described in a., b., c. or d. above
             surveyor for injury or damage arising out of:         that are not self-propelled and are maintained
             (a} Preparing, approving, or failing to               primarily to provide mobility to permanently
                  prepare or approve, maps, shop                   attached equipment of the following types:
                  drawings, opinions, reports, surveys,            (1) Air compressors, pumps and generators,
                  field orders, change orders or drawings              including spraying, welding, building
                  and specifications; or                               cleaning, geophysical exploration, lighting
             (b) Giving directions or instructions, or                 and well servicing equipment; or
                  failing to give them , if that is the            (2) Cherry pickers and similar devices used to
                  primary cause of the injury or damage;              raise or lower workers;
                  or
                                                                f. Vehicles not described in a., b., c. or d. above
        (2) Under which the insured, if an architect,              maintained primarily for purposes other than
             engineer or surveyor, assumes liability for           the transportation of persons or cargo.
             an injury or damage arising out of the
                                                                   However, self-propelled vehicles with the
             insured's rendering or failure to render
                                                                   following types of permanently attached
             professional services, including those listed
                                                                   equipment are not "mobile equipment" but will
             in (1) above and supervisory, inspection,
                                                                   be considered "autos":
             architectural or engineering activities.
                                                                   (1} Equipment designed primarily for:
13. "Leased worker" means a person leased to you
    by a labor leasing firm under an agreement                        (a} Snow removal;
    between you and the labor leasing firm, to                        (b) Road      maintenance,       but     not
    perform duties related to the conduct of your                         construction or resurfacing; or
    business. "Leased worker'' does not include a
                                                                      (c} Street cleaning;
    "temporary worker".


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      (2) Cherry pickers and similar devices                     (2) Work that has not yet been completed or
          mounted on automobile or truck chassis                     abandoned. However, "your work" will be
          and used to raise or lower workers; and                    deemed completed at the earliest of the
      (3) Air compressors, pumps and generators,                     following times:
          including spraying, welding, building                      (a) When all of the work called for in your
          cleaning, geophysical exploration, lighting                    contract has been completed.
          and well servicing equipment.                              (b) When all of the work to be done at the
   However, "mobile equipment" does not include                          job site has been completed if your
   any land vehicle that is subject to a compulsory                      contract calls for work at more than
   or financial responsibility law or other motor                        one job site.
   vehicle insurance law where it is licensed or                     (c) When that part of the work. done at a
   principally garaged. Land vehicles subject to a                       job site has been put to its intended
   compulsory or financial responsibility law or other                   use by any person or organization
   motor vehicle insurance law are considered                            other than another contractor or
   "autos".                                                              subcontractor working on the same
16. "Occurrence" means an accident, including                            project.
    continuous or repeated exposure to substantially                 Work     that     may      need    service,
    the same general harmful conditions.                             maintenance,      correction,   repair   or
17. "Personal and advertising injury" means                          replacement, but which is otherwise
    injury, including consequential "bodily injury",                 complete, will be treated as completed.
    arising out of one or more of the following                b. Does not include "bodily injury" or "property
    offenses:                                                     damage" arising out of:
   a. False arrest, detention or imprisonment:                    (1) The transportation of property, unless the
    b. Malicious prosecution;                                         injury or damage arises out of a condition
    c. The wrongful eviction from, wrongful entry                     in or on a vehicle not owned or operated
         into, or invasion of the right of private                    by you, and that condition was created by
        occupancy of a room, dwelling or premises                     the "loading or unloading" of that vehicle
        that a person or organization occupies,                       by any insured;
        committed by or on behalf of its owner,                   (2) The existence of tools, uninstalled
         landlord or lessor;                                          equipment or abandoned or unused
    d. Oral, written or electronic publication, in any                materials; or
         manner, of material that slanders or libels a            (3) Products or operations for which the
         person or organization or disparages a                       classification, listed in the Declarations or
         person's or organization's goods, products or                in a policy Schedule, states that products-
        services:                                                     completed operations are subject to the
    e. Oral, written or electronic publication, in any                General Aggregate Limit.
         manner, of material that violates a person's      20. "Property damage" means:
         right of privacy;                                    a. Physical injury to tangible property, including
     f. Copying, in your "advertisement", a person's              all resulting loss of use of that property. All
        or organization's "advertising idea" or style of          such loss of use shall be deemed to occur at
        "advertisement"; or                                       the time of the physical injury that caused it;
    g. Infringement of copyright, slogan, or title of             or
        any literary or artistic work, in your                b. Loss of use of tangible property that is not
        "advertisement".                                         physically injured. All such loss of use shall
18. "Pollutants" mean any solid, liquid, gaseous or              be deemed to occur at the time of the
    thermal irritant or contaminant, including smoke,            "occurrence" that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and         As used in this definition, computerized or
    waste. Waste includes materials to be recycled,           electronically stored data, programs or software
    reconditioned or reclaimed.                               are not tangible property. Electronic data means
19. "Products-completed operations hazard":                   information, facts or programs:
    a. Includes all "bodily injury" and "property             a. Stored as or on:
        damage" occurring away from premises you
                                                              b. Created or used on: or
        own or rent and arising out of "your product"
        or "your work" except:                                c. Transmitted to or from:
        (1) Products that are still in your physical          computer software, including systems and
             possession; or                                   applications software, hard or floppy disks, CD-


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   ROMS, tapes, drives, cells, data processing          25. "Your work" :
   devices or any other media which are used with       a. Means:
   electronically controlled equipment.
                                                          (1) Work or operations performed by you or
21 . "Suit"means a civil proceeding in which                  on your behalf; and
   damages because of "bodily injury", "property
   damage" or "personal and advertising injury" to        (2) Materials. parts or equipment furnished in
   which this insurance applies are alleged . "Suit"          connection with such work or operations .
   includes:                                            b. Includes
   a. An arbitration proceeding in wh ich such            (1) Warranties or representations made at
      damages are claimed and to which the                    any time with respect to the fitness,
      insured must submit or does submit with our             quality, durability, performance or use of
      consent; or                                             "your work", and
   b. Any     other alternative dispute resolution        (2) The providing of or failure to provide
        proceeding in which such damages are                  warnings or instructions.
        claimed and to which the insured submits with
        our consent.
22. "Temporary worker" means a person who is
    furnished to you to substitute for a permanent
    "employee" on leave or to meet seasonal or
    short-term workload conditions .
23. "Volunteer worker" means a person who
   a. Is not your "employee";
   b. Donates his or her work;
   c. Acts at the direction of and within the scope
      of duties determined by you ; and
   d. Is not paid a fee, salary or other
      compensation by you or anyone else for their
      work performed for you.
24. "Your product":
   a. Means:
      (1) Any goods or products, other than real
          property, manufactured, sold , handled,
          distributed or disposed of by:
          (a) You ;
          (b) Others trading under your name; or
          (c) A person or organization whose
              business or assets you have acquired;
              and
      (2) Containers      (other     than  vehicles),
          materials, parts or equipment furnished in
          connection with such goods or products.
   b. Includes
      (1) Warranties or representations made at
          any time with respect to the fitness,
          quality, durability, performance or use of
          "your product"; and
     (2) The providing of or failure to provide
          warnings or instructions.
   c. Does not include vend ing machines or other
       property rented to or located for the use of
       others but not sold.




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POLICY NUMBER:




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


            ADDITIONAL PERSONS OR ORGANIZATIONS
               DESIGNATED AS NAMED INSUREDS
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART


The following person(s) or organizations(s) are added as Named Insureds under this policy:




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POLICY NUMBER:



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                PREMIUM COMPUTATION ENDORSEMENT
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


 (1) The Advance Premium set forth in Item 2. of the Declarations is adjustable, and is only an estimated
     premium for the Audit Period set forth in Item 1. of the Declarations.
    The final earned premium for the Audit Period shall be determined as specified in paragraph b. of the
    Premium Audit Condition (Section IV).
    The Audit Premium referred to in such paragraph b. shall be computed by applying the Rate of
                         per                    of the Premium Base identified in (2) below. Such Rate is net of any
     taxes, licenses, or fees.

 (2) The Premium Base shall be identified in (A) and (B) below:
     (A) PREMIUM BASE:
              Gross "Sales," excluding "aircraft products;"
                                  "intercompany sales;" and
                                   "foreign sales."

              "Payroll," as determined immediately below:
                 Gross Unmodified "Payroll"
                   "Workers Compensation Payroll"
                   "Workers Compensation Payroll" excluding:
                 (1) "Clerical Office Employees;"
                 (2) "Salesmen, Collectors, Messengers;"
                 (3) Drivers and their helpers if principal duties are to work on or in connection with "autos."
                   Other: (Describe)




     (B) SPECIFIC DELETIONS FROM PREMIUM BASE, IF ANY:
              Designated Products described in the following endorsements:


              Designated Operations described in the following endorsements:


              Other, described in the following endorsements:



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(3) As used in this endorsement, the following additional definitions apply:
    "Aircraft" includes but is not limited to heavier-than-air flying vehicles, helicopters, gliders, missiles or
    spacecraft.
   "Aircraft products" means "aircraft" and any other goods or products manufactured, sold, handled or
   distributed or services provided or recommended by the insured or by others trading under his or her name for
   use in the manufacture, repair, operation, maintenance or use of any "aircraft."
   "Aircraft products" includes:
   a. Warranties or representations made at any time with respect to the fitness, quality, durability,
       performance or use of "aircraft products;" and
   b. The providing of or failure to provide warnings or instructions.
   "Clerical Office Employees" means those employees who work in an area which is physically separated by
   walls, floors or partitions from all your other work areas and whose duties are strictly limited to keeping your
   books or records or conducting correspondence, including any other employees engaged in clerical work in
   the same area.
   "Foreign Sales," unless otherwise specifically defined in an endorsement forming a part of this policy, are
   "sales" which directly emanate from the sale of "your product" sold for use or consumption outside the United
   States of America, its territories or possessions, or Canada.
   "Intercompany sales," unless otherwise specifically defined in an endorsement forming a part of this policy,
   are "sales" between you and any other organization covered under this policy over which you maintain
   ownership or majority interest in.
   "Payroll" means remuneration. Remuneration means money or substitute for money.
   "Sales" means the gross amount charged by the Named Insured, concessionaires of the Named Insured, or
   by others trading under the insured’s name for:
   (a) All goods or products sold or distributed;
   (b) Operations performed; or
   (c) Rentals
   during the Audit Period set forth in Item 3. of the Declarations;
   The following items shall be deducted from "sales:"
   (a) Sales or excise taxes which are collected and submitted to a governmental division;
   (b) Credits for repossessed merchandise and products returned and allowance for damaged and spoiled
       goods;
   (c) Finance charges for items sold on installments;
   (d) Freight charges on sales if freight is charged as a separate item on customer’s invoice; and
   (e) Royalty income from patent rights or copyrights which are not product "sales."
   "Salesmen, collectors, and messengers" means those employees engaged principally in any such duties
   away from the Named Insured’s premises.
   "Workers’ Compensation Payroll" means "payroll" developed in accordance with the applicable Workers’
   Compensation manual.




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COMMERCIAL GENERAL LIABILITY SCHEDULE

Policy Number:

 This Schedule Forms a part of the
 Coverage Part.
 Entries herein, except as specifically provided elsewhere in this policy, do not modify any of the other provisions of
 this policy.
Rating Classifications                    Code No.          Premium Basis                Rate              Premium




                                                                           ADVANCE PREMIUM:
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POLICY NUMBER:




           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             DEDUCTIBLE LIABILITY INSURANCE
This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART
           PRODUCTS-COMPLETED OPERATIONS LIABILITY COVERAGE PART
           EMPLOYEE BENEFITS LIABILITY COVERAGE PART



                                                      SCHEDULE

                                                 Amount and Basis of Deductible Application
Specific Coverage(s) To Which Deductible         Any One Claim, If   Any One "Occurrence"       Aggregate Applicable
Applies (Designated by an "X" Below:)            Any                 and/or "Offense," If Any   To Specific Coverage(s),
                                                                                                If Any

[ ]        "Bodily Injury"                       $                   $                          $

[ ]        "Property Damage"                     $                   $                          $
[ ]        "Personal and Advertising Injury"     $                   $                          $

[ ]        "Employee Benefits Injury"            $                   $                          $
DESIGNATED COVERAGES COMBINED                    $                   $                          $

APPLICATION OF ENDORSEMENT: Enter below any modifications on the application of this endorsement. If no
modification is entered, the deductible(s) set forth in the SCHEDULE apply to damages and "claim expenses" for
all "bodily injury", "property damage", "personal and advertising injury" or "employee benefits injury", to which this
insurance applies, however caused:




1. Subject to the Limits of Insurance and all other terms and conditions of this Coverage Part, our obligation to
   pay damages and "claim expenses" on your behalf applies only to the amount of damages and "claim
   expenses" in excess of any deductible amounts set forth in the SCHEDULE as applicable to such Coverages.
2. You may select for any one Specific Coverage or DESIGNATED COVERAGES COMBINED:
      a. An Any One Claim deductible (Claim deductible);
      b. An Any One "Occurrence" and/or Offense deductible ("Occurrence"/Offense deductible); or
      c.     The option to have both a Claim deductible and an "Occurrence"/Offense deductible.
      You may choose to make a., b. or c. subject to an Aggregate deductible. Your choices of deductible amounts
      and coverages are shown on the SCHEDULE above.
3. If the deductible amount indicated in the SCHEDULE above applies on a per claim basis (option a. of
   subsection 2. above) the deductible applies as follows:



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    a. To all damages and "claim expenses" arising out of "bodily injury", "property damage", "personal and
       advertising injury" or "employee benefits injury" to which this insurance may apply as a result of any one
       claim; or
    b. Under DESIGNATED COVERAGES COMBINED, to all damages and "claim expenses" arising out of
       "bodily injury", "property damage", "personal and advertising injury" or "employee benefits injury" to which
       this insurance may apply as a result of any one claim
    regardless of the number of persons or organizations who sustain damages because of that one claim.
    If damages are claimed for care, loss of services or death resulting at any time from "bodily injury," a separate
    deductible amount will be applied to each person making a claim for such damages.
4. If the deductible amount indicated in the SCHEDULE above applies on a per "occurrence" and/or offense
   basis (option b. of subsection 2. above) the deductible applies as follows:
    a. To all damages and "claim expenses" arising out of "bodily injury" or "property damage" to which this
       insurance may apply as a result of any one "occurrence";
    b. To all damages and "claim expenses" arising out of "personal and advertising injury" or "employee
       benefits injury", to which this insurance may apply as a result of any one offense; or
    c.    Under DESIGNATED COVERAGE COMBINED, to all damages and "claim expenses" arising out of
          "bodily injury", "property damage", "personal and advertising injury" or "employee benefits injury" to which
          this insurance may apply as a result of any one "occurrence" or offense
    regardless of the number of persons or organizations who sustain damages because of that one "occurrence"
    and/or offense.
5. If the deductible amount indicated in the SCHEDULE above applies on a per claim and per "occurrence"
   and/or offense basis (option c. of subsection 2. above):
    a. The deductible amount applicable to each claim is as set forth in 3. above; however,
    b. The maximum deductible applicable to each "occurrence" and/or offense, regardless of the number of
       claims, shall be determined as set forth in 4. above.
6. However, the amount(s) to be deducted for any one Specific Coverage or DESIGNATED COVERAGES
   COMBINED, under option 3., 4. or 5. above shall not exceed the amount, if any, set forth as Aggregate as
   applicable to such Specific Coverage or DESIGNATED COVERAGES COMBINED.
7. Subject to 6. above, the respective Limits of Insurance applicable to each "occurrence" or each offense shall be
   reduced by payment of damages (not "claim expenses") by the application of the deductible in 3., 4. or 5. above.
   Likewise, the Aggregate Limits of Insurance set forth by an "X" below shall be reduced by such application:
    [ ]     General Aggregate
    [ ]     Products-Completed Operations Aggregate
    [ ]     Other:
8. The terms of this insurance, including those with respect to (a) our rights and duties to defend any claim or
   "suit" seeking such damages, and (b) your duties in the event of an "occurrence," offense, claim or "suit" apply
   irrespective of the deductible amount.
9. We may pay any part or all of the deductible amount to effect settlement of any claim or "suit" and, upon
   notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as has
   been paid by us.
10. The deductible amounts in this endorsement apply separately to each consecutive annual period and to any
    remaining period of less than 12 months, starting with the beginning of the policy period shown in the
    Declarations, unless the policy period is extended after issuance for an additional period of less than 12
    months. In that case, the additional period will be deemed part of the last preceding period for the purposes of
    determining the amount of the deductible.
11. If coverage is available under this policy, the insured must pay the applicable deductible amount(s) provided
    in the SCHEDULE above. The payment or satisfaction of any deductible or self-insured amount (or retention)
    under any other policy issued by us, or any other carrier, shall not satisfy the insured's obligation to pay the
    applicable deductible under this policy. If coverage is available under this policy and other policies issued by
    us, then the insured must pay any deductible(s) or self-insured amounts under each policy that is issued by
    us.


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For the purposes of this endorsement the following shall apply:
A. The words claim and damages shall mean the defined term, if any, that is found in the applicable Coverage
   Part; and
B. "Claim expenses" means all expenses we incur in accordance with item 1.a. under Supplementary Payments
   of the applicable Coverage Part and includes any amendments thereof.




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POLICY NUMBER:




           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             DEDUCTIBLE LIABILITY INSURANCE
This endorsement modifies insurance provided under the following:

           COMMERCIAL GENERAL LIABILITY COVERAGE PART
           PRODUCTS-COMPLETED OPERATIONS LIABILITY COVERAGE PART
           EMPLOYEE BENEFITS LIABILITY COVERAGE PART



                                                      SCHEDULE

                                                 Amount and Basis of Deductible Application
Specific Coverage(s) To Which Deductible         Any One Claim, If   Any One "Occurrence"       Aggregate Applicable
Applies (Designated by an "X" Below:)            Any                 and/or "Offense," If Any   To Specific Coverage(s),
                                                                                                If Any

[ ]        "Bodily Injury"                       $                   $                          $

[ ]        "Property Damage"                     $                   $                          $
[ ]        "Personal and Advertising Injury"     $                   $                          $

[ ]        "Employee Benefits Injury"            $                   $                          $
DESIGNATED COVERAGES COMBINED                    $                   $                          $

APPLICATION OF ENDORSEMENT: Enter below any modifications on the application of this endorsement. If no
modification is entered, the deductible(s) set forth in the SCHEDULE apply to damages and "claim expenses" for
all "bodily injury", "property damage", "personal and advertising injury" or "employee benefits injury", to which this
insurance applies, however caused:




1. Subject to the Limits of Insurance and all other terms and conditions of this Coverage Part, our obligation to
   pay damages and "claim expenses" on your behalf applies only to the amount of damages and "claim
   expenses" in excess of any deductible amounts set forth in the SCHEDULE as applicable to such Coverages.
2. You may select for any one Specific Coverage or DESIGNATED COVERAGES COMBINED:
      a. An Any One Claim deductible (Claim deductible);
      b. An Any One "Occurrence" and/or Offense deductible ("Occurrence"/Offense deductible); or
      c.     The option to have both a Claim deductible and an "Occurrence"/Offense deductible.
      You may choose to make a., b. or c. subject to an Aggregate deductible. Your choices of deductible amounts
      and coverages are shown on the SCHEDULE above.
3. If the deductible amount indicated in the SCHEDULE above applies on a per claim basis (option a. of
   subsection 2. above) the deductible applies as follows:



Form HS 03 28 07 13                                                                                         Page 1 of 3
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    a. To all damages and "claim expenses" arising out of "bodily injury", "property damage", "personal and
       advertising injury" or "employee benefits injury" to which this insurance may apply as a result of any one
       claim; or
    b. Under DESIGNATED COVERAGES COMBINED, to all damages and "claim expenses" arising out of
       "bodily injury", "property damage", "personal and advertising injury" or "employee benefits injury" to which
       this insurance may apply as a result of any one claim
    regardless of the number of persons or organizations who sustain damages because of that one claim.
    If damages are claimed for care, loss of services or death resulting at any time from "bodily injury," a separate
    deductible amount will be applied to each person making a claim for such damages.
4. If the deductible amount indicated in the SCHEDULE above applies on a per "occurrence" and/or offense
   basis (option b. of subsection 2. above) the deductible applies as follows:
    a. To all damages and "claim expenses" arising out of "bodily injury" or "property damage" to which this
       insurance may apply as a result of any one "occurrence";
    b. To all damages and "claim expenses" arising out of "personal and advertising injury" or "employee
       benefits injury", to which this insurance may apply as a result of any one offense; or
    c.    Under DESIGNATED COVERAGE COMBINED, to all damages and "claim expenses" arising out of
          "bodily injury", "property damage", "personal and advertising injury" or "employee benefits injury" to which
          this insurance may apply as a result of any one "occurrence" or offense
    regardless of the number of persons or organizations who sustain damages because of that one "occurrence"
    and/or offense.
5. If the deductible amount indicated in the SCHEDULE above applies on a per claim and per "occurrence"
   and/or offense basis (option c. of subsection 2. above):
    a. The deductible amount applicable to each claim is as set forth in 3. above; however,
    b. The maximum deductible applicable to each "occurrence" and/or offense, regardless of the number of
       claims, shall be determined as set forth in 4. above.
6. However, the amount(s) to be deducted for any one Specific Coverage or DESIGNATED COVERAGES
   COMBINED, under option 3., 4. or 5. above shall not exceed the amount, if any, set forth as Aggregate as
   applicable to such Specific Coverage or DESIGNATED COVERAGES COMBINED.
7. Subject to 6. above, the respective Limits of Insurance applicable to each "occurrence" or each offense shall be
   reduced by payment of damages (not "claim expenses") by the application of the deductible in 3., 4. or 5. above.
   Likewise, the Aggregate Limits of Insurance set forth by an "X" below shall be reduced by such application:
    [ ]     General Aggregate
    [ ]     Products-Completed Operations Aggregate
    [ ]     Other:
8. The terms of this insurance, including those with respect to (a) our rights and duties to defend any claim or
   "suit" seeking such damages, and (b) your duties in the event of an "occurrence," offense, claim or "suit" apply
   irrespective of the deductible amount.
9. We may pay any part or all of the deductible amount to effect settlement of any claim or "suit" and, upon
   notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as has
   been paid by us.
10. The deductible amounts in this endorsement apply separately to each consecutive annual period and to any
    remaining period of less than 12 months, starting with the beginning of the policy period shown in the
    Declarations, unless the policy period is extended after issuance for an additional period of less than 12
    months. In that case, the additional period will be deemed part of the last preceding period for the purposes of
    determining the amount of the deductible.
11. If coverage is available under this policy, the insured must pay the applicable deductible amount(s) provided
    in the SCHEDULE above. The payment or satisfaction of any deductible or self-insured amount (or retention)
    under any other policy issued by us, or any other carrier, shall not satisfy the insured's obligation to pay the
    applicable deductible under this policy. If coverage is available under this policy and other policies issued by
    us, then the insured must pay any deductible(s) or self-insured amounts under each policy that is issued by
    us.


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For the purposes of this endorsement the following shall apply:
A. The words claim and damages shall mean the defined term, if any, that is found in the applicable Coverage
   Part; and
B. "Claim expenses" means all expenses we incur in accordance with item 1.a. under Supplementary Payments
   of the applicable Coverage Part and includes any amendments thereof.




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POLICY NUMBER:



     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             EMPLOYEE BENEFITS LIABILITY COVERAGE
                 ENDORSEMENT - CLAIMS MADE
 THIS IS A CLAIMS MADE ENDORSEMENT. PLEASE READ ALL PROVISIONS AND CONTACT YOUR
 AGENT IF YOU HAVE ANY QUESTIONS.       THIS ENDORSEMENT APPLIES ONLY TO "EMPLOYEE
 BENEFITS INJURY" CAUSED BY AN "OFFENSE" COMMITTED BETWEEN THE RETROACTIVE DATE IN
 THE SCHEDULE OF THIS ENDORSEMENT AND THE END OF THE POLICY PERIOD. ADDITIONALLY, THIS
 ENDORSEMENT APPLIES ONLY TO CLAIMS MADE AGAINST THE INSURED AFTER THE INCEPTION
 DATE AND BEFORE THE END OF THE POLICY PERIOD. UPON TERMINATION OF THIS ENDORSEMENT,
 AN EXTENDED REPORTING PERIOD MAY BE AVAILABLE.

 This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART



                                                          SCHEDULE
 Coverage:       Employee Benefits Injury Liability

 Premium:

 Retroactive Date:                                (If no date is entered, the Retroactive Date is the Inception Date of the
                                                  policy period shown in the Common Policy Declarations.)
 Limits of Insurance

                                   Each "Offense" Limit

                                   Each "Claim" Limit

                                   Aggregate Limit

        Included in the General Aggregate Limit set forth in the Commercial General Liability Coverage Part Declarations; or

        Applies separately to Employee Benefits Injury Liability.


 The following is added to Section I - Coverages:                             damages. However, we will have no duty to
                                                                              defend the insured against any "suit" seeking
 COVERAGE - EMPLOYEE BENEFITS LIABILITY                                       damages for "employee benefits injury" to
 1. Insuring Agreement                                                        which this endorsement does not apply.
     a. We will pay those sums that the insured shall                         We may at our discretion investigate any
        become legally obligated to pay as damages                            "offense" and settle any such "claim" or "suit"
        because of "employee benefits injury" to                              that may result. But:
        which this endorsement applies. We will have                          (1) The amount we will pay for damages is
        the right and duty to defend the insured                                   limited to the amount described in the
        against any "claim" or "suit" seeking those                                Limits of Insurance section of this
                                                                                   endorsement; and

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        (2) Our right and duty to defend end when we          d. Insufficiency Of Funds
            have used up the applicable limit of                  Damages arising out of an insufficiency of
            insurance in the payment of judgments or              funds to meet any obligations under any plan
             settlements to which this endorsement                included in the "employee benefit program".
             applies.
                                                              e. Inadequacy          Of     Performance       Of
       No obligation to pay claim expenses or any                 Investment/Advice Given With Respect To
        other liability to pay sums or perform acts or            Participation
        services is covered unless explicitly provided
        under the Supplementary Payments section                  Any "claim" based upon:
        of the Coverage Part of which this                        (1) Failure of any investment to perform;
        endorsement forms a part.                                 (2) Errors in providing information on past
    b. This endorsement applies to "employee                          performance of investment vehicles; or
        benefits injury" only if:                                 (3) Advice given to any person with respect to
        (1) The "offense" was not committed before                    that person’s decision to participate or
             the Retroactive Date, if any, shown in the               not to participate in any plan included in
             above Schedule or after the end of the                   the "employee benefit program".
             policy period shown in the Common
                                                              f. Workers’ Compensation And Similar Laws
             Policy Declarations;                                 Any "claim" arising out of your failure to
        (2) The "employee benefits injury" is caused              comply with the mandatory provisions of any
             by an "offense" committed in the                     workers’      compensation,       unemployment
             "coverage territory"; and                            compensation insurance, social security or
        (3) A "claim" for damages because of the                  disability benefits law or any similar law.
             "employee benefits injury" is first made         g. ERISA
             against any insured, in accordance with
                                                                 Damages for which any insured is liable
             paragraphs c. and d. below, during the
                                                                 because of liability imposed on a fiduciary by
             policy period or any Extended Reporting              the Employee Retirement Income Security Act
             Period we provide under the Extended                 of 1974, as now or hereafter amended, or by
             Reporting      Period section of this
                                                                  any similar federal, state or local laws.
             endorsement.
                                                              h. Available Benefits
    c. A "claim" by a person or organization seeking
        damages will be deemed to have been made                 Any "claim" for benefits to the extent that such
        when notice of such "claim" is received and              benefits are available, with reasonable effort
       recorded by an insured or by us, whichever                and cooperation of the insured, from the
        comes first.                                             applicable funds accrued or other collectible
                                                                 insurance.
    d. All "claims" for damages because of
       "employee benefits injury" to the same person         i. Taxes, Fines Or Penalties
        or organization will be deemed to have been              Taxes, fines or penalties, including those
       made at the time the first of those "claims" is           imposed under the Internal Revenue Code or
       made against the insured.                                 any similar state or local law.
2. Exclusions                                                j. Employment-Related Practices
    This insurance does not apply to:                            Damages arising out of wrongful termination
    a. Dishonest,     Fraudulent,     Criminal      Or           of employment, discrimination, or other
        Malicious Act                                            employment-related practices.
        Damages arising out of any intentional,           3. For the purposes of the coverage provided by
        dishonest, fraudulent, criminal or malicious         this endorsement:
        act, error or omission, committed by any             a. All references to Supplementary Payments
        insured, including the willful or reckless               - Coverages A and B are replaced by
        violation of any statute.                                Supplementary Payments - Coverages A,
    b. Bodily Injury, Property Damage, Or                        B and Employee Benefits Liability.
        Personal And Advertising Injury                       b. Paragraphs       1.b.,    and     2.    of   the
        "Bodily injury", "property damage" or                     Supplementary Payments provision do not
        "personal and advertising injury".                        apply.
    c. Failure To Perform A Contract                      4. Limits of Insurance
        Damages arising out of failure of performance         a. The Limits of Insurance set forth in the above
        of contract by any insurer.                               Schedule and the rules below fix the most we
                                                                  will pay regardless of the number of:

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        (1) Insureds;                                                    conditions in your premises or operations
        (2) "Claims" made or "suits" brought; or                         that may result in a "claim" under this
                                                                         endorsement, but have not resulted in a
        (3) Persons or organizations making "claims"                     "claim" as of the inception date of this
            or bringing "suits".                                         policy, we shall not deny coverage under
    b. The Aggregate Limit set forth in the above                        this endorsement because of such failure.
        Schedule is the most we will pay for all                         However, this provision does not apply to
        damages to which this endorsement applies.                       failure to disclose at the inception of the
                                                                         policy any knowledge of any "claim" or
    c. Subject to b. above:
                                                                         "suit" or of any "offense" which might
        (1) The Each "Offense" Limit if any, set forth                   reasonably be expected to result in a
            in the above Schedule, is the most we will                   "claim or "suit".
            pay for all damages with respect to any
                                                                 b. The following is added to the Other
            one "offense"; or
                                                                    Insurance Condition, paragraph 4.b. Excess
        (2) The Each "Claim" limit set forth in the                 Insurance:
            above Schedule, is the most we will pay
            for all damages sustained by any one                     (f) Any other insurance that applies to
            "employee" including any "employee’s"                        "employee benefits injury" on other than a
                                                                         claims-made basis, if:
            dependent or beneficiary
        whichever of (1) or (2) applies.                                 (1) No Retroactive Date is set forth in the
                                                                             above Schedule; or
    The Limits of Insurance shown in the above
    Schedule apply separately to each consecutive                        (2) Such other insurance has a policy
    annual period and to any remaining period of less                        period which continues after the
    than 12 months, starting with the beginning of the                       Retroactive Date set forth in the
   policy period shown in the Common Policy                                  above Schedule.
   Declarations, unless the endorsement is extended          6. Definitions
    after issuance for an additional period of less than        For the purposes of this endorsement only, the
   12 months. In that case the additional period will           following additional definitions apply:
   be deemed part of the last preceding period for
   purposes of determining the Limits of Insurance.             a. "Administration" means:
5. Conditions                                                         (1) Giving counsel to your "employees" or
                                                                           their dependents and beneficiaries, with
    For the purposes of this endorsement only, the                        respect to interpreting the scope of your
    Representations       Condition     and     Other                      "employee benefits program" or their
    Insurance Condition (Section IV) are amended as                        eligibility to participate in such programs;
    follows:                                                               and
    a. The Representations Condition is deleted and                   (2) Handling records in connection with an
        replaced by the following:                                         "employee benefits program".
        By accepting this endorsement, you agree:               b. "Claim" means a demand made by any
        (1) The statements in the Declarations of the                 "employee" or "employee’s" dependent or
            Coverage Part of which this endorsement                  beneficiary, for damages alleging "employee
            forms a part are accurate and complete;                  benefits injury", including the institution of a
                                                                      "suit" for such damages against the insured.
        (2) Those statements are based upon
                                                                c. "Employee benefits injury" means injury that
            representations you made to us;
                                                                     arises out of any negligent act, error or
        (3) At the time you applied for this                         omission in the "administration" of your
            endorsement you had no knowledge of                      "employee benefits programs".
            any "claim" or "suit"; or of any "offense"
            which might reasonably be expected to                d. "Employee benefits program" means a formal
            result in a "claim" or "suit", except as you             program or programs of "employee" benefits
            had reported to us in writing at the time                maintained in connection with your business
            you so applied;                                          or operation, such as but not limited to:
        (4) We have issued this endorsement in                       (1) Group life insurance, group accident or
            reliance upon your representations; and                      health insurance, profit sharing plans,
        (5) If you should unintentionally fail to disclose               pension plans and stock subscription
                                                                         plans, provided that no one other than an
            at the inception date of this policy of which                "employee" may subscribe to such
            this endorsement forms a part any
                                                                         insurance or plans; and



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      (2) Unemployment insurance, social security             (2) You may select an Extended Reporting
           benefits, workers’ compensation and                    Period Option starting at the end of the
           disability benefits.                                   policy period and lasting for one (1) year.
   e. "Offense" means, with respect to "employee
                                                              (3) Premium for the Extended Reporting
      benefits injury", an act, error or omission
                                                                  Period Option will be determined by
      described in the "administration" of your                   taking into account the following:
      "employee benefits program". All "employee
      benefits injury" arising out of the same or                 (a) The exposures insured;
      similar act, error or omission shall be                     (b) Previous types and amounts of
      considered as arising solely out of one                         insurance;
      "offense".                                                  (c) Limits of Insurance available under
   f. "Suit" means, with respect to "employee benefits                this endorsement for future payment
       injury", a civil proceeding in which damages                   of damages; and
       because of "employee benefits injury" to
                                                                  (d) Other related factors.
       which this endorsement applies are alleged.
       "Suit" includes:                                       (4) We will issue an Extended Reporting
       (1) An arbitration proceeding in which such                Period endorsement only if:
           damages are claimed and to which the                   (a) You request it within sixty (60) days
           insured must submit or does submit with                    of the end of the policy period;
           our consent; or
                                                                  (b) You have paid all premiums due for
       (2) Any other alternative dispute resolution                   this policy at the time you request an
           proceeding in which such damages are                       Extended          Reporting      Period
           claimed and to which the insured submits                   endorsement; and
           with our consent.                                       (c) You promptly pay when due the
7. Extended Reporting Periods                                          additional premium for the Extended
   For purposes of the coverage provided by this                       Reporting Period endorsement.
   endorsement, we will provide one or more                c. During the Extended Reporting Period,
   Extended Reporting Periods as described below:              coverage under this endorsement applies as
                                                               excess over any valid and collectible
   a. Basic Extended Reporting Period                          insurance available under policies in force
       (1) Regardless of why the Coverage Part or              after such Extended Reporting Period starts.
           this endorsement is canceled or non-            d. All Extended Reporting Periods
           renewed, we will automatically provide a           The Basic Extended or Extended Reporting
           Basic Extended Reporting Period starting
                                                              Periods:
           at the end of the policy period, and lasting
           for a period of sixty (60) days. The Basic         (1) Do not extend the policy period or change
           Extended Reporting Period is provided at                the scope of coverage provided. They
           no charge.                                              only apply to "claims" for "employee
                                                                  benefits injury" that occurs before the end
      (2) The Basic Extended Reporting Period
                                                                   of the policy period but not before the
          does not apply to "claims" that are
                                                                  Retroactive Date, if any, shown in the
          covered under any subsequent insurance
                                                                   above Schedule;
          you purchase, or that would be covered
          but for exhaustion of the amount of                 (2) Do not reinstate or increase the Limits of
          insurance applicable to such "claims".                  Insurance shown in the above Schedule.
                                                                  The Limits of Insurance for any Extended
   b. Extended Reporting Period
                                                                  Reporting Period shall be a part of, and
       (1) If the Coverage Part or this endorsement is            not in addition to, the Limits of Insurance
           canceled or non-renewed for any reason                 shown in the above Schedule.            This
           other than non-payment of premium, we will             applies regardless of the number of
           offer, for an additional premium as set forth          involved insureds, or any other factors;
           in paragraph (3) below, an Extended                (3) Are not renewable; and
           Reporting Period Option as set forth in
                                                              (4) Cannot, once in effect, be canceled. We
           paragraph (2) below.
                                                                  need not return any part of the premium
                                                                  paid for any reason whatsoever.




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Policy Number: 52 CES OF6859                  Effective Date: 06/30/2019

Named Insured and Address: LDX SOLUTIONS
                           60 CHASTAIN CENTER BLVD NW
                           SUITE 60
                           KENNESAW , GA 30144


     CONFIRMATION OF COVERAGE ELECTION -TERRORISM RISK
                       INSURANCE ACT

We have previously notified you that in accordance with the federal Terrorism Risk Insurance Act, as
amended (TRIA), we must make terrorism coverage available in the policies we offer.

A "certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in accordance
with the provisions of TRIA, to be an act of terrorism under TRIA. The criteria contained in TRIA for a
"certified act of terrorism" include the following:

1.   The act results in insured losses in excess of $5 million in the aggregate, attributable to all types of
     insurance subject to TRIA; and
2.   The act results in damage within the United States, or outside the United States in the case of certain
     air carriers or vessels or the premises of a United States mission; and
3.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
     committed by an individual or individuals as part of an effort to coerce the civilian population of the
     United States or to influence the policy or affect the conduct of the United States Government by
     coercion.

The United States Department of the Treasury will reimburse insurers for a portion of such insured losses
as indicated in the table below that exceeds the applicable insurer deductible:

      Calendar Year        Federal Share of
                           Terrorism Losses
          2015                    85%
          2016                    84%
          2017                    83%
          2018                    82%
          2019                    81%
       2020 or later              80%

However, if aggregate insured losses attributable to "certified acts of terrorism" under TRIA exceed $100
billion in a calendar year, the Treasury shall not make any payment for any portion of the amount of such
losses that exceeds $100 billion. The United States Government has not charged any premium for their
participation in covering terrorism losses.

If aggregate insured losses attributable to "certified acts of terrorism" under TRIA exceed $100 billion in a
calendar year and we have met, or will meet, our insurer deductible under TRIA we shall not be liable for
the payment of any portion of the amount of such losses that exceeds $100 billion . In such case , your
coverage for terrorism losses may be reduced on a pro-rata basis in accordance with procedures
established by the Treasury, based on its estimates of aggregate industry losses and our estimate that
we will exceed our insurer deductible. In accordance with Treasury procedures , amounts paid for losses
may be subject to further adjustments based on differences between actual losses and estimates .

At that time we advised you that the premium for such terrorism coverage would be $ • • •- - -




Form GN 98 47 18 (ED. 01/15)                                                                    Page 1 of 2
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Please be advised that this premium charge may be adjusted at audit if applicable. As a result of
our notification, you have made the following election:

Accepted Terrorism Coverage:      [!J

Rejected Terrorism Coverage:      D

       TERRORISM EXCLUSION ON YOUR BINDER AND/OR POLICY AND ITS RENEWALS

If the "Rejected Terrorism Coverage" box above is checked, you have previously rejected such coverage
by signing a written rejection statement and returning such document to us.

By doing so you authorized the attachment of terrorism exclusion(s) to your binder and/or, policy and to
all subsequent renewals. Unless you contact your agent, broker or representative and accept coverage
prior to the inception of your renewal policy, the terrorism exclusion(s) will apply to all subsequent
renewals.




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                                                                                          (ED. 01/15)
                                                                                    Page 46 of 80
       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              CAP ON LOSSES FROM CERTIFIED ACTS OF
                          TERRORISM
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
CONDOMINIUM AND COOPERATIVE DIRECTORS AND OFFICERS LIABILITY COVERAGE FORM
DATA BREACH COVERAGE FORM
EDUCATORS PROFESSIONAL CHOICE POLICY
EMPLOYEE BENEFITS LIABILITY COVERAGE FORM
EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
LIBRARY ERRORS AND OMISSIONS LIABILITY COVERAGE FORM
LIQUOR LIABILITY COVERAGE PART
MANUFACTURERS' ERRORS AND OMISSIONS LIABILITY COVERAGE PART
OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
POLLUTION LIABILITY COVERAGE PART
PRINTER'S ERRORS AND OMISSIONS LIABILITY COVERAGE FORM
PRODUCT RECALL EXPENSE COVERAGE FORM
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
RAILROAD PROTECTIVE LIABILITY COVERAGE PART
SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY NEW YORK DEPARTMENT OF TRANSPORTATION


A.   Disclosure Of Federal Share Of Terrorism                  B. Cap On Insurer Liability For Terrorism
     Losses                                                       Losses
     The United States Department of the Treasury                  A "certified act of terrorism" means an act that is
     will reimburse insurers for a portion of such                 certified by the Secretary of the Treasury, in
     insured losses as indicated in the table below                accordance with the provisions of the federal
     that exceeds the applicable insurer deductible:               Terrorism Risk Insurance Act, to be an act of
          Calendar Year           Federal Share of                 terrorism under TRIA. The criteria contained in
                                  Terrorism Losses                 TRIA for a "certified act of terrorism" include the
                                                                   following:
                2015                     85%
                                                                   1. The act results in insured losses in excess of
                2016                     84%                          $5 million in the aggregate, attributable to all
                2017                     83%                          types of insurance subject to TRIA; and
                2018                     82%                       2. The act results in damage within the United
                                                                      States, or outside the United States in the
                2019                     81%
                                                                      case of certain air carriers or vessels or the
           2020 or later                 80%                          premises of a United States mission ; and
     However,      if   aggregate      insured    losses           3. The act is a violent act or an act that is
     attributable to "certified acts of terrorism" under              dangerous to human life , property or
     the federal Terrorism Risk Insurance Act, as                     infrastructure and is committed by an
     amended (TRIA) exceed $100 billion in a                          individual or individuals as part of an effort to
     calendar year, the Treasury shall not make any                   coerce the civilian population of the United
     payment for any portion of the amount of such                    States or to influence the policy or affect the
     losses that exceeds $100 billion . The United                    conduct of the United States Government by
     States Government has not charged any                            coercion .
     premium for their participation in covering                   If aggregate insured losses attributable to
     terrorism losses.                                             "certified acts of terrorism" under TRIA exceed

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   $100 billion in a calendar year and we have met,   C. Application of Other Exclusions
   or will meet, our insurer deductible under TRIA       The terms and limitations of any terrorism
   we shall not be liable for the payment of any         exclusion , the inapplicability or omission of a
   portion of the amount of such losses that             terrorism exclusion, or the inclusion of Terrorism
   exceeds $100 billion . In such case, your             coverage, do not serve to create coverage for
   coverage for terrorism losses may be reduced          any loss which would otherwise be excluded
   on a pro-rata basis in accordance with                under this Coverage Part or Policy, such as
   procedures established by the Treasury, based         losses excluded by the Nuclear Hazard
   on its estimates of aggregate industry losses         Exclusion,    Pollution    Exclusion,    or War
   and our estimate that we will exceed our insurer      Exclusion.
   deductible. In accordance with Treasury
   procedures, amounts paid for losses may be
   subject to further adjustments based on
   differences     between    actual   losses and
   estimates.




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POLICY NUMBER: 52 CES OF6859



       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        ADJUSTMENT OF TERRORISM CHARGES AT AUDIT

This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    EMPLOYEE BENEFITS LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART




It is agreed that:
The premium set forth in your policy, on your declarations page or any separate endorsement for Certified Acts of
Terrorism, is a preliminary premium based on your original premium and will be recomputed and adjusted by
applying a charge of                               to the premium computed at your final audit. The addition of this
terrorism charge will result in your final audited premium.




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POLICY NUMBER:




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EXCLUSION - UNNAMED SUBSIDIARY AND
           LIMITATION - NEWLY ACQUIRED OR FORMED
                         ORGANIZATION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


Section II - Who Is An Insured is changed as follows:

A. Paragraph 2.e. Unnamed Subsidiary does not apply.
B. Paragraph 3.a. Newly Acquired or Formed Organization is deleted and replaced by the following:
   3.a. Coverage under this provision is afforded only until the 90th day after you acquire or form the
        organization or the end of the policy period, whichever is earlier;




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POLICY NUMBER:                                                                  COMMERCIAL GENERAL LIABILITY




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      EXCLUSION - INTERCOMPANY SUITS

This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART




This policy does not apply to any claim for damages by any Named Insured against another Named Insured
because of "bodily injury," "property damage," "personal and advertising injury" arising out of your operations.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             EXCLUSION - FUNGI, BACTERIA AND VIRUSES
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
      RAILROAD PROTECTIVE LIABILITY COVERAGE PART
      MANUFACTURERS' ERRORS AND OMISSIONS LIABILITY COVERAGE PART
      EDUCATORS LEGAL LIABILITY COVERAGE FORM
      CONDOMINIUM AND COOPERATIVE DIRECTORS AND OFFICERS LIABILITY COVERAGE FORM



This insurance does not apply to:

    1. Injury or damage arising out of or related to             2. Any loss, cost or expense arising out of the
       the presence of, suspected presence of, or                   testing for, monitoring of, cleaning up of,
       exposure to:                                                 removal of, containment of, treatment of,
        a. Fungi, including but not limited to mold,                detoxification of, neutralization of, remediation
           mildew, and yeast;                                       of, disposal of, or any other response to or
                                                                    assessment of, the effects of any of the items
        b. Bacteria;                                                in 1.a., b., c. or d. above, from any source
        c.   Viruses; or                                            whatsoever.
        d. Dust, spores, odors, particulates or                  However, this exclusion does not apply to "bodily
           byproducts, including but not limited to              injury" or "property damage" caused by the
           mycotoxins and endotoxins, resulting from             ingestion of food.
           any of the organisms listed in a., b., or c.
           above;
        from any source whatsoever.




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Policy Number:                                         Effective Date:

Named Insured and Address:

Endt. No.




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              ABSOLUTE POLLUTION EXCLUSION
              EXCEPTION FOR MOBILE EQUIPMENT

This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART


Subparagraph f. (1)(d) of the Absolute Pollution Exclusion (Form HC 21 23) is replaced by the following:

(d) At or from any premises, site or location on which any insured or any contractors or subcontractors
    working directly or indirectly on any insured’s behalf are performing operations.
    However, this subparagraph does not apply to "bodily injury" or "property damage" arising out of the
    escape of fuels, lubricants or other operating fluids which are needed to perform the normal electrical,
    hydraulic or mechanical functions necessary for the operation of "mobile equipment" or its parts, if such
    fuels, lubricants or other operating fluids:
    (i) Escape from a vehicle part designed to hold, store or receive them; and

    (ii) Are brought on or to the premise, site or location in connection with such operations by such
         insured, contractor or subcontractor.

    This exception does not apply if the "bodily injury" or "property damage" arises out of:
    (1) The intentional discharge, dispersal or release of the fuels, lubricants or other operating fluids, or if
        such fuels, lubricants or other operating fluids are brought on or to the premises, site or location
        with the intent that they be discharged, dispensed or release as part of the operations being
        performed by such insured, contractor or subcontractor.
    (2) Operations directly or indirectly involved with or related to testing for, monitoring, cleaning up,
        removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
        assessing the effects of "pollutants"; or




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    ABSOLUTE POLLUTION EXCLUSION
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. It is agreed that Exclusion f. is replaced by the                (e) To the extent that any such "bodily injury"
   following:                                                           or "property damage" is included in the
  f. (1) "Bodily injury" or "property damage" arising                   "products-completed operations hazard".
         out of the actual, alleged or threatened            (2) Any loss, cost or expense arising out of any:
         discharge, dispersal, seepage, migration,                  (a) Request, demand, order or statutory or
         release or escape of "pollutants":                             regulatory requirement that any insured or
       (a) At or from any premises, site or location                    others test for, monitor, clean up, remove,
           which is or was at any time owned or                         contain, treat, detoxify or neutralize, or in
           occupied by, or rented or loaned to, any                     any way respond to, or assess the effects
           insured;                                                     of "pollutants"; or
       (b) At or from any premises, site or location                (b) Claim or suit by or on behalf of a
           which is or was at any time used by or for                   governmental authority for damages
           any insured or others for the handling,                      because of testing for, monitoring,
           storage, disposal, processing or treatment                   cleaning up, removing, containing,
           of waste;                                                    treating, detoxifying or neutralizing, or in
       (c) Which are or were at any time                                any way responding to, or assessing the
           transported, handled, stored, treated,                       effects of "pollutants".
           disposed of, or processed as waste by or      B. The last paragraph of Section I - Coverage A
           for any insured or any person or                 (after the exclusions) is replaced by the following:
           organization for whom you may be legally          Exclusions c. through e., and g. through n. do not
           responsible;                                      apply to damage by fire, lightning or explosion to
       (d) At or from any premises, site or location         premises rented to you or temporarily occupied by
           on which any insured or any contractors           you with permission of the owner. A separate limit
           or subcontractors working directly or             of insurance applies to this coverage as described
           indirectly on any insured's behalf are            in Section III - Limits Of Insurance.
           performing operations;




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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                CG 22 33 04 13

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  EXCLUSION - TESTING OR CONSULTING
                       ERRORS AND OMISSIONS

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.             2. The reporting of or reliance upon any such test,
Exclusions of Section I – Coverage A – Bodily Injury             evaluation, consultation or advice; or
And Property Damage Liability and Paragraph 2.               3. An error, omission, defect or deficiency in
Exclusions of Section I – Coverage B – Personal                  experimental data or the insured’s interpretation of
And Advertising Injury Liability:                                that data.
This insurance does not apply to "bodily injury",            This exclusion applies even if the claims against any
"property damage" or "personal and advertising injury"       insured allege negligence or other wrongdoing in the
arising out of:                                              supervision, hiring, employment, training or monitoring
1. An error, omission, defect or deficiency in:              of others by that insured, if the "occurrence" which
   a. Any test performed; or                                 caused the "bodily injury" or "property damage", or the
                                                             offense which caused the "personal and advertising
   b. An evaluation, a consultation or advice given;         injury", involved that which is described in Paragraph 1.,
   by or on behalf of any insured;                           2. or 3.




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                                                                                  COMMERCIAL GENERAL LIABILITY
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               EXCLUSION - ENGINEERS, ARCHITECTS OR
                SURVEYORS PROFESSIONAL LIABILITY

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.               2. Supervisory,     inspection,     architectural   or
Exclusions of Section I – Coverage A – Bodily                     engineering activities.
Injury And Property Damage Liability and                       This exclusion applies even if the claims against any
Paragraph 2. Exclusions of Section I – Coverage B              insured allege negligence or other wrongdoing in the
– Personal And Advertising Injury Liability:                   supervision, hiring, employment, training or monitoring
This insurance does not apply to "bodily injury",              of others by that insured, if the "occurrence" which
"property damage" or "personal and advertising injury"         caused the "bodily injury" or "property damage", or the
arising out of the rendering of or failure to render any       offense which caused the "personal and advertising
professional services by you or any engineer, architect        injury", involved the rendering of or failure to render
or surveyor who is either employed by you or                   any professional services by you or any engineer,
performing work on your behalf in such capacity.               architect or surveyor who is either employed by you or
Professional services include:                                 performing work on your behalf in such capacity.
1. The preparing, approving, or failing to prepare or
   approve, maps, shop drawings, opinions, reports,
   surveys, field orders, change orders or drawings
   and specifications; and




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      EXCLUSION - AIRCRAFT PRODUCTS
This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. The following Exclusion is added:                                     b. Lighter-than-air flying vehicles;
   This insurance does not apply to ''bodily injury'' or                 c. Helicopters;
   ''property damage'' included within the ''products-                   d. Gliders;
   completed operation hazard'' and arising out of:
                                                                         e. Missiles; or
   1. ''Aircraft products";
                                                                         f.   Spacecraft.
   2. Reliance upon any representation or warranty
      made with respect to "aircraft products";                      2. ''Aircraft products'' means:
   3. The ''grounding'' of any ''aircraft"; or                           a. ''Aircraft"; or
   4. Liability assumed by you under any contract or                     b. Any other goods or products, other than
      agreement if such liability arises out of                             real property, designed, manufactured,
      ''aircraft products".                                                 sold, handled or distributed, or services
                                                                            produced or recommended by:
B. LIMITED EXCEPTION
                                                                              (1) You; or
   This exclusion does not apply to "bodily injury" to
   persons operating, maintaining, repairing or                               (2) Others trading under your name;
   installing any "aircraft products" provided such                           for use in the manufacture, repair,
   "bodily injury" does not occur while the "aircraft" is                     operation, maintenance or use of any
   in motion.                                                                 ''aircraft".
C. For the purposes of this endorsement, the                         3. ''Grounding'' means:
   following definitions are added to the Definitions                    a. The withdrawal of one or more ''aircraft''
   Section:                                                                 from flight operations; or
   1. ''Aircraft'' includes but is not limited to:
                                                                         b. The imposition of speed, passenger or
       a. Heavier-than-air flying vehicles;                                 load restrictions on ''aircraft".




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                      EXCLUSION - SILICA
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      CONDOMINIUM AND COOPERATIVE DIRECTORS AND OFFICERS LIABILITY COVERAGE FORM
      EDUCATORS PROFESSIONAL CHOICE POLICY
      EMPLOYERS LIABILITY AND STOP GAP COVERAGE FORM
      ERRORS AND OMISSIONS LIABILITY COVERAGE FORM
      MANUFACTURERS' ERRORS AND OMISSIONS LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
      POLLUTION LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
      RAILROAD PROTECTIVE LIABILITY COVERAGE PART
      SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY - NEW YORK DEPARTMENT OF
      TRANSPORTATION

A. The following exclusion is added:
        This insurance does not apply to:
        Silica
        Any injury, damage, loss, cost or expense, including but not limited to “bodily injury”, “property damage” or
        “personal and advertising injury” arising out of, or relating to, in whole or in part, the “silica hazard”.
B. The following is added to the Definitions Section:
        “Silica hazard” means an exposure to, inhalation of or contact with, or threat of exposure to, inhalation of
        or contact with, the actual or alleged properties of silica or any silica containing materials and includes the
        mere presence of silica or any silica containing materials in any form.
        Silica includes all forms of the compound silicon dioxide, including but not limited to quartz.




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                                                                          COMMERCIAL GENERAL LIABILITY




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          ABSOLUTE LEAD EXCLUSION
This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE PART
       OWNERS AND CONTRACTORS LIABILITY COVERAGE PART
       PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
       RAILROAD PROTECTIVE LIABILITY COVERAGE PART
       FARM LIABILITY COVERAGE


This insurance does not apply to any damages,                c.     Arise out of any claim or any ''suit'' for
judgments, settlements, loss, costs or expenses that:               damages because of:
   a. May be awarded or incurred by reason of any                   1. Identification of, abatement of, testing for,
      claim or ''suit'' alleging actual or threatened                  sampling, monitoring, cleaning up,
      injury or damage of any nature or kind to                        removing, covering, containing, treating,
      person or property which arises out of or                        detoxifying, decontaminating, neutralizing
      would not have occurred in whole or in part                      or mitigating or in any way responding to
      but for the lead hazard; or                                      or assessing the effects of the lead
   b. Arise out of any request, demand or order to:                    hazard; or
       1. Identify, abate, test for, sample, monitor,               2. As a result of such effects, repairing,
          clean up, remove, cover, contain, treat,                     replacing or improving any property.
          detoxify, decontaminate, neutralize or         As used in this exclusion, lead hazard means an
          mitigate or in any way respond to or           exposure or threat of exposure to the actual or alleged
          assess the effects of the lead hazard; or      properties of lead and includes the mere presence or
       2. As a result of such effects, repair, replace   suspected presence of lead in any form or
          or improve any property.                       combination.




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POLICY NUMBER:




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          AMENDMENT - POLICY PERIOD
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART



A. It is hereby agreed that policy period, wherever it appears in the Coverage Part, means the following:
    Policy period means the period beginning with the inception date shown in the Common Policy Declarations
    and ending with the earlier of:
    1. The date of cancellation of this Coverage Part; or
    2. The expiration date shown in the Common Policy Declarations.
B. The last paragraph of Section III - Limits of Insurance is deleted and replaced by the following:
    The Limits of Insurance of this Coverage Part apply separately to each policy period starting with the
    beginning of the policy period. If the policy period is extended after issuance for an additional period, such
    additional period will be deemed part of the policy period for purposes of determining the Limits of Insurance.
C. If any deductible applies to this Coverage Part, the deductible will apply in the same manner as the Limits of
    Insurance in paragraph B. above.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 EARLIER NOTICE OF CANCELLATION OR NONRENEWAL
                 PROVIDED BY US
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      EDUCATORS LEGAL LIABILITY COVERAGE PART (CLAIMS MADE)
      LIQUOR LIABILITY COVERAGE PART
      MANUFACTURERS' ERRORS AND OMISSIONS LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
      POLLUTION LIABILITY COVERAGE PART
      PRINTERS ERRORS AND OMISSIONS LIABILITY COVERAGE PART
      PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
      PRODUCT WITHDRAWAL COVERAGE PART
      RAILROAD PROTECTIVE LIABILITY COVERAGE PART



                                                  SCHEDULE

Number of Days' Notice

Cancellation:
Nonrenewal:

(If no entry is shown in the Schedule above for either Cancellation or Nonrenewal, the number of days notice for
that condition is not amended by this endorsement)


For any statutorily permitted reason other than nonpayment of premium, the number of days required for notice of
cancellation or nonrenewal, as provided in:
1. Paragraph A.2. of the Cancellation Common Policy Condition;
2. The Coverage Part; or
3. An applicable state cancellation or nonrenewal endorsement,
whichever may apply, is increased to the number of days shown in the Schedule above.
In no event, however, will notice of cancellation or nonrenewal be less than the minimum number of days required,
if any, of the state shown as the first Named Insured's mailing address shown in the Declarations.




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POLICY NUMBER:




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


          INDEPENDENT CONTRACTORS ENDORSEMENT
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following condition is added to Conditions - Section IV.

Independent Contractors
You shall obtain Certificates of Insurance from all independent Contractors or sub-contractors providing evidence of
General Liability insurance coverage with limits at least equal to that afforded by this policy.
Such Certificates of Insurance shall also specify that you are named as an additional insured under their policy as
respects to work for which you have engaged their services.
Failure to comply with these conditions does not alter the coverage provided by this policy. However, should you
fail to comply, independent contractors will be considered your employees and a premium charge will be made
accordingly. The entire cost of all work sublet will be used as the premium basis for the work performed.




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                      IMPORTANT STATE INFORMATION

                           FRAUD WARNING STATEMENTS

ARKANSAS, DISTRICT OF COLUMBIA, FLORIDA, KENTUCKY, LOUISIANA, MAINE, NEW JERSEY, NEW
MEXICO, PENNSYLVANIA, TENNESSEE, VIRGINIA AND WEST VIRGINIA APPLICANTS:

ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY INSURANCE COMPANY OR
OTHER PERSON FILES AN APPLICATION FOR INSURANCE OR STATEMENT OF CLAIM CONTAINING
ANY MATERIALLY FALSE INFORMATION OR CONCEALS FOR THE PURPOSE OF MISLEADING,
INFORMATION CONCERNING ANY FACT MATERIAL THERETO, COMMITS A FRAUDULENT INSURANCE
ACT, WHICH IS A CRIME AND SUBJECTS THE PERSON TO CRIMINAL AND CIVIL PENALTIES.

NOTE: IN LOUISIANA, MAINE, TENNESSEE, VIRGINA AND THE DISTRICT OF COLUMBIA, PENALTIES
MAY ALSO INCLUDE THE DENIAL OF INSURANCE BENEFITS.

ALABAMA APPLICANTS: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT
CLAIM FOR PAYMENT OF A LOSS OR BENEFIT OR WHO KNOWINGLY PRESENTS FALSE
INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND MAY BE SUBJECT
TO RESTITUTION, FINES OR CONFINEMENT IN PRISON, OR ANY COMBINATION THEREOF.

COLORADO APPLICANTS: IT IS UNLAWFUL TO KNOWINGLY PROVIDE FALSE, INCOMPLETE, OR
MISLEADING FACTS OR INFORMATION TO AN INSURANCE COMPANY FOR THE PURPOSE OF
DEFRAUDING OR ATTEMPTING TO DEFRAUD THE COMPANY. PENALTIES MAY INCLUDE
IMPRISONMENT, FINES, AND DENIAL OF INSURANCE AND CIVIL DAMAGES. ANY INSURANCE
COMPANY OR AGENT OF AN INSURANCE COMPANY WHO KNOWINGLY PROVIDES FALSE,
INCOMPLETE, OR MISLEADING FACTS OR INFORMATION TO A POLICY HOLDER OR CLAIMANT FOR
THE PURPOSE OF DEFRAUDING OR ATTEMPTING TO DEFRAUD THE POLICY HOLDER OR CLAIMANT
WITH REGARD TO A SETTLEMENT OR AWARD PAYABLE FROM INSURANCE PROCEEDS SHALL BE
REPORTED TO THE COLORADO DIVISION OF INSURANCE WITHIN THE DEPARTMENT OF
REGULATORY AGENCIES.

HAWAII APPLICANTS: FOR YOUR PROTECTION, HAWAII LAW REQUIRES YOU TO BE INFORMED THAT
PRESENTING A FRAUDULENT CLAIM FOR PAYMENT OF A LOSS OR BENEFIT IS A CRIME
PUNISHABLE BY FINES OR IMPRISONMENT, OR BOTH.

KANSAS APPLICANTS: ANY PERSON WHO COMMITS A FRAUDULENT INSURANCE ACT IS GUILTY OF
A CRIME AND MAY BE SUBJECT TO RESTITUTION, FINES AND CONFINEMENT IN PRISON. A
FRAUDULENT INSURANCE ACT MEANS AN ACT COMMITTED BY ANY PERSON WHO, KNOWINGLY
AND WITH INTENT TO DEFRAUD, PRESENTS, CAUSES TO BE PRESENTED OR PREPARES WITH
KNOWLEDGE OR BELIEF THAT IT WILL BE PRESENTED TO OR BY AN INSURER, PURPORTED
INSURER OR INSURANCE AGENT OR BROKER, ANY WRITTEN STATEMENT AS PART OF, OR IN
SUPPORT OF, AN APPLICATION FOR INSURANCE, OF THE RATING OF AN INSURANCE POLICY, OR A
CLAIM FOR PAYMENT OR OTHER BENEFIT UNDER AN INSURANCE POLICY, WHICH SUCH PERSON
KNOWS TO CONTAIN MATERIALLY FALSE INFORMATION CONCERNING ANY MATERIAL FACT
THERETO; OR CONCEALS, FOR THE PURPOSE OF MISLEADING, INFORMATION CONCERNING ANY
FACT MATERIAL THERETO.

MARYLAND APPLICANTS: ANY PERSON WHO KNOWINGLY AND WILLFULLY PRESENTS A FALSE OR
FRAUDULENT CLAIM FOR PAYMENT OF A LOSS OR BENEFIT OR WHO KNOWINGLY AND WILLFULLY
PRESENTS FALSE INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF A CRIME AND
MAY BE SUBJECT TO FINES AND CONFINEMENT IN PRISON.


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NEW YORK APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY
INSURANCE COMPANY OR OTHER PERSON FILES AN APPLICATION FOR INSURANCE OR
STATEMENT OF CLAIM CONTAINING MATERIALLY FALSE INFORMATION, OR CONCEALS FOR THE
PURPOSE OF MISLEADING, INFORMATION CONCERNING ANY FACT MATERIAL THERETO, COMMITS
A FRAUDULENT INSURANCE ACT WHICH IS A CRIME, AND SHALL ALSO BE SUBJECT TO A CIVIL
PENALTY NOT TO EXCEED FIVE THOUSAND DOLLARS AND THE STATED VALUE OF THE CLAIM FOR
SUCH VIOLATION.

OHIO APPLICANTS: ANY PERSON WHO, WITH INTENT TO DEFRAUD OR KNOWING THAT HE IS
FACILITATING A FRAUD AGAINST AN INSURER, SUBMITS AN APPLICATION OR FILES A CLAIM
CONTAINING A FALSE OR DECEPTIVE STATEMENT IS GUILTY OF INSURANCE FRAUD.

OKLAHOMA APPLICANTS: WARNING: ANY PERSON WHO KNOWINGLY, AND WITH INTENT TO
INJURE, DEFRAUD OR DECEIVE ANY INSURER, MAKES ANY CLAIM FOR THE PROCEEDS OF AN
INSURANCE POLICY CONTAINING ANY FALSE, INCOMPLETE OR MISLEADING INFORMATION IS
GUILTY OF A FELONY.

OREGON APPLICANTS: ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD OR SOLICIT
ANOTHER TO DEFRAUD AN INSURER: (1) BY SUBMITTING AN APPLICATION OR; (2) FILING A CLAIM
CONTAINING A FALSE STATEMENT AS TO ANY MATERIAL FACT MAY BE VIOLATING STATE LAW.




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                                                                          THE.
                                                                        HARTFORD




                         PRODUCER COMPENSATION NOTICE



You can review and obtain information on The Hartford's producer compensation practices at
www.TheHartford.com or at 1-800-592-5717.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                       (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                                  C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"               or    "property      damage"    resulting   from
      or "property damage":                                          "hazardous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                   (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a                         facility" owned by, or operated by or on
          nuclear energy liability policy issued by                     behalf of, an "insured" or (b) has been
          Nuclear     Energy       Liability       Insurance            discharged or dispersed therefrom;
          Association, Mutual Atomic Energy Liability               (2) The "nuclear material" is contained in
          Underwriters,         Nuclear           Insurance             "spent fuel" or "waste" at any time
          Association of Canada or any of their                         possessed, handled, used, processed,
          successors, or would be an insured under                      stored, transported or disposed of, by or on
          any such policy but for its termination upon                  behalf of an "insured"; or
          exhaustion of its limit of liability; or                  (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                      arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                     of services, materials, parts or equipment in
          which (a) any person or organization is                       connection with the planning, construction,
          required to maintain financial protection                     maintenance, operation or use of any
          pursuant to the Atomic Energy Act of 1954,                    "nuclear facility", but if such facility is
          or any law amendatory thereof, or (b) the                     located within the United States of America,
          "insured" is, or had this policy not been                     its territories or possessions or Canada, this
          issued would be, entitled to indemnity from                   exclusion (3) applies only to "property
          the United States of America, or any                          damage" to such "nuclear facility" and any
          agency thereof, under any agreement                           property thereat.
          entered into by the United States of                 2. As used in this endorsement:
          America, or any agency thereof, with any
          person or organization.                                 "Hazardous properties" includes radioactive, toxic
                                                                  or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily                   "Nuclear material" means "source material",
      injury"   resulting     from      the     "hazardous        "special nuclear material" or "by-product material".
      properties" of "nuclear material" and arising out
      of the operation of a "nuclear facility" by any
      person or organization.




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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the
   "by-product material" have the meanings given                     processing, fabricating or alloying of
   them in the Atomic Energy Act of 1954 or in any                   "special nuclear material" if at any time the
   law amendatory thereof.                                           total amount of such material in the custody
   "Spent fuel" means any fuel element or fuel                       of the "insured" at the premises where such
   component, solid or liquid, which has been used or                equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of
                                                                     plutonium or uranium 233 or any
   "Waste" means any waste material (a) containing                   combination thereof, or more than 250
   "by-product material" other than the tailings or                  grams of uranium 235;
   wastes      produced     by       the extraction  or
   concentration of uranium or thorium from any ore              (d) Any structure, basin, excavation, premises
   processed primarily for its "source material"                     or place prepared or used for the storage or
   content, and (b) resulting from the operation by                  disposal of "waste";
   any person or organization of any "nuclear facility"       and includes the site on which any of the foregoing
   included under the first two paragraphs of the             is located, all operations conducted on such site
   definition of "nuclear facility".                          and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
     (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
     (b) Any equipment or device designed or used             mass of fissionable material.
         for (1) separating the isotopes of uranium or
         plutonium, (2) processing or utilizing "spent        "Property damage" includes all           forms    of
         fuel", or (3) handling, processing or                radioactive contamination of property.
         packaging "waste";




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    GEORGIA CHANGES - CANCELLATION
                           AND NONRENEWAL
This endorsement modifies insurance provided under the following:

    CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
    COMMERCIAL AUTOMOBILE COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    CRIME AND FIDELITY COVERAGE PART
    EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
    EQUIPMENT BREAKDOWN COVERAGE PART
    FARM COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Paragraph A.1. of the Cancellation Common                               Our notice will state the effective date of
   Policy Condition is replaced by the following:                          cancellation, which will be the later of the
   1. The first Named Insured shown in the                                 following:
      Declarations may cancel this policy by mailing                       (1) 10 days from the date of mailing or
      or delivering to us advance written notice of                            delivering our notice, or
      cancellation stating a future date on which the                      (2) The effective date of cancellation
      policy is to be cancelled, subject to the                                stated in the first Named Insured's
      following:                                                               notice to us.
       a. If only the interest of the first Named            B. Paragraph A.5. of the Cancellation Common
          Insured is affected, the effective date of            Policy Condition is replaced by the following:
          cancellation will be either the date we
                                                                    5. Premium Refund
          receive notice from the first Named
          Insured or the date specified in the notice,                 a. If this policy is cancelled, we will send the
          whichever is later.       However, upon                         first Named Insured any premium refund
          receiving a written notice of cancellation                      due.
          from the first Named Insured, we may                         b. If we cancel, the refund will be pro-rata,
          waive the requirement that the notice state                     except as provided in c. below.
          the future date of cancellation, by
                                                                       c. If the cancellation results from failure of
          confirming the date and time of
                                                                          the first Named Insured to pay, when due,
          cancellation in writing to the first Named
                                                                          any premium to us or any amount, when
          Insured.
                                                                          due, under a premium finance agreement,
       b. If by statute, regulation or contract this                      then the refund may be less than pro rata.
          policy may not be cancelled unless notice                       Calculation of the return premium at less
          is given to a governmental agency,                              than pro rata represents a penalty charged
          mortgagee or other third party, we will mail                    on unearned premium.
          or deliver at least 10 days notice to the
                                                                       d. If the first Named Insured cancels, the
          first Named Insured and the third party as
                                                                          refund may be less than pro rata.
          soon as practicable after receiving the first
          Named Insured's request for cancellation.                    e. The cancellation will be effective even if
                                                                          we have not made or offered a refund.

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C. The following is added to the Cancellation                        With respect to such insurance, the following is
   Common Policy Condition and supersedes any                        added to the Cancellation Common Policy
   other provisions to the contrary:                                 Condition and supersedes any provisions to the
   If we decide to:                                                  contrary:
   1. Cancel or nonrenew this policy; or                             1. When this policy has been in effect for 60 days
                                                                        or less and is not a renewal with us, we may
   2. Increase current policy premium by more than
                                                                        cancel for any reason by notifying the first
      15% (other than any increase due to change in                     Named Insured at least 10 days before the
      risk, exposure or experience modification or                      date cancellation takes effect.
      resulting from an audit of auditable
      coverages); or                                                 2. When this policy has been in effect for more
                                                                        than 60 days, or at any time if it is a renewal
   3. Change any policy provision which would limit
                                                                        with us, we may cancel only for one or more of
      or restrict coverage:                                             the following reasons:
   Then:                                                                 a. Nonpayment of premium, whether payable
   We will mail or deliver notice of our action                             to us or to our agent;
   (including the dollar amount of any increase in                       b. Upon discovery of fraud, concealment of a
   renewal premium of more than 15%) to the first                           material        fact,      or       material
   Named Insured and lienholder, if any, at the last                        misrepresentation made by or with the
   mailing address know to us. Except as applicable                         knowledge of any person insured under
   as described in Paragraph D. below, we will mail                         this policy in obtaining this policy,
   or deliver notice at least:                                              continuing this policy or presenting a claim
   1. 10 days before the effective date of                                  under this policy.
      cancellation if this policy has been in effect                     c. Upon the occurrence of a change in the
      less than 60 days or if we cancel for                                 risk which substantially increases any
      nonpayment of premium; or                                             hazard insured against; or
   2. 45 days before the effective date of                               d. Upon the violation of any of the material
      cancellation if this policy has been in effect 60                     terms or conditions of this policy by any
      or more days and we cancel for a reason other                         person insured under this policy.
      than nonpayment of premium; or
                                                                         We may cancel by providing notice to the first
   3. 45 days before the expiration date of this
                                                                         Named Insured at least:
      policy if we decide to nonrenew, increase the
      premium or limit or restrict coverage.                                  o   10 days before the effective date of
                                                                                  cancellation  if  we cancel      for
D. The following provisions apply to insurance
                                                                                  nonpayment of premium; or
   covering residential real property only provided
   under the:                                                                 o   45 days before the effective date of
                                                                                  cancellation if we cancel for any of the
   Capital Assets Program (Output Policy) Coverage                                reasons listed in b., c. or d. above.
   Part;
   Commercial Property Coverage Part;
   Farm Coverage Part;
   If the named insured is a natural person.




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                                                                                             THE'
                                                                                          HARTFORD


 U.S. DEPARTMENT OF THE TREASURY, OFFICE OF FOREIGN ASSETS
     CONTROL ("OFAC") ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the
coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by the United States. Please read this Notice carefully.

The Office of Foreign Assets Control ("OFAC") of the U.S. Department of the Treasury administers and
enforces economic and trade sanctions based on U.S. foreign policy and national security goals against
targeted foreign countries and regimes, terrorists, international narcotics traffickers, those engaged in activities
related to the proliferation of weapons of mass destruction, and other threats to the national security, foreign
policy or economy of the United States. OFAC acts under Presidential national emergency powers, as well as
authority granted by specific legislation, to impose controls on transactions and freeze assets under U.S.
jurisdiction. OFAC publishes a list of individuals and companies owned or controlled by, or acting for or on
behalf of, targeted countries. It also lists individuals, groups, and entities, such as terrorists and narcotics
traffickers designated under programs that are not country-specific. Collectively, such individuals and
companies are called "Specially Designated Nationals and Blocked Persons" or "SDNs". Their assets are
blocked and U.S. persons are generally prohibited from dealing with them. This list can be located on OFAC’s
web site at – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is an SDN, as identified by OFAC, the
policy is a blocked contract and all dealings with it must involve OFAC. When an insurance policy is
considered to be such a blocked or frozen contract, no payments nor premium refunds may be made without
authorization from OFAC.




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                           COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                 C. Examination Of Your Books And Records
   1. The   first Named Insured shown in the                       We may examine and audit your books and
      Declarations may cancel this policy by mailing               records as they relate to this policy at any time
      or delivering to us advance written notice of                during the policy period and up to three years
      cancellation.                                                afterward.
   2. We may cancel this policy by mailing or                   D. Inspections And Surveys
      delivering to the first Named Insured written                1. We have the right to:
      notice of cancellation at least:
                                                                      a. Make inspections and surveys at any time:
      a. 1O days before the effective date of
         cancellation if we cancel for nonpayment of                  b. Give you reports on the conditions we find:
         premium; or                                                     and
      b. 30 days before the effective date of                         c. Recommend changes.
         cancellation if we cancel for any other                   2. We are not obligated to make any inspections,
         reason.                                                      surveys, reports or recommendations and any
   3. We will mail or deliver our notice to the first                 such actions we do undertake relate only to
      Named lnsured's last mailing address known                      insurability and the premiums to be charged.
      to us.                                                          We do not make safety inspections. We do
                                                                      not undertake to perform the duty of any
   4. Notice of cancellation will state the effective                 person or organization to provide for the health
      date of cancellation. The policy period will end                or safety of workers or the public. And we do
      on that date.                                                   not warrant that conditions:
   5. If this policy is cancelled, we will send the first             a. Are safe or healthful; or
      Named Insured any premium refund due. If
      we cancel, the refund will be pro rata. If the                  b. Comply with laws, regulations, codes or
      first Named Insured cancels, the refund may                         standards.
      be less than pro rata. The cancellation will be              3. Paragraphs 1. and 2. of this condition apply
      effective even if we have not made or offered                   not only to us, but also to any rating, advisory,
      a refund.                                                       rate service or similar organization which
   6. If notice is mailed, proof of mailing will be                   makes insurance inspections, surveys, reports
      sufficient proof of notice.                                     or recommendations.
B. Changes                                                         4. Paragraph 2. of this condition does not apply
                                                                      to any inspections, surveys, reports or
   This policy contains all the agreements between                    recommendations we may make relative to
   you and us concerning the insurance afforded.                      certification, under state or municipal statutes,
   The first Named Insured shown in the                               ordinances or regulations, of boilers, pressure
   Declarations is authorized to make changes in the                  vessels or elevators.
   terms of this policy with our consent. This policy's
   terms can be amended or waived only by
   endorsement issued by us and made a part of
   this policy.




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E.   Premiums                                                   If you die, your rights and duties will be
     The first Named           Insured    shown     in    the   transferred to your legal representative but only
     Declarations:                                              while acting within the scope of duties as your
                                                                legal    representative.     Until your legal
     1. Is responsible        for   the   payment    of   all   representative is appointed, anyone having
        premiums; and                                           proper temporary custody of your property will
     2. Will be the payee for any return premiums we            have your rights and duties but only with respect
        pay.                                                    to that property.
F.   Transfer Of Your Rights And Duties Under
     This Policy
     Your rights and duties under this policy may not
     be transferred without our written consent except
     in the case of death of an individual named
     insured.




      Lisa Levin, Secretary                                       Douglas Elliot, President




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Named Insured:

Policy Number:

Effective Date:                                         Expiration Date:

Company Name:



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              TRADE OR ECONOMIC SANCTIONS ENDO RSEMENT


This insurance does not apply to the extent that trade or economic sanctions or other laws or regulations
prohibit us from providing insurance, including, but not limited to, the payment of claims.


All other terms and conditions remain unchanged.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     DISCRIMINATION -AMENDMENT OF PERSONAL AND
             ADVERTISING INJURY DEFINITION
This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

Paragraph h. is added to the definition of "Personal and advertising injury" as follows:
h.   Discrimination that results in humiliation or other injury to the feelings or reputation of a natural person,
     provided that such discrimination is not committed by or at your direction, or the direction of any partner,
     member, manager, "executive officer", director, stockholder or trustee of the insured.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    EXCLUSION - UNMANNED AIRCRAFT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM (EXCESS - BROAD FORM)
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM (EXCESS)

A. Exclusion 2.g. Aircraft, Auto Or Watercraft                             training or monitoring of others by
   under Section I - Coverage A - Bodily Injury                            that insured, if the "occurrence" which
   And Property Damage Liability is replaced by                            caused the "bodily injury" or "property
   the following:                                                          damage" involved the ownership,
   2. Exclusions                                                           maintenance, use or entrustment to
                                                                           others of any aircraft (other than
       This insurance does not apply to:
                                                                           "unmanned         aircraft"),    "auto"    or
       g. Aircraft, Auto Or Watercraft                                     watercraft that is owned or operated
           (1) Unmanned Aircraft                                           by or rented or loaned to any insured.
               "Bodily injury" or "property damage"                        This Paragraph g.(2) does not apply
               arising    out of the        ownership,                     to:
               maintenance, use or entrustment to                          (a) A watercraft while ashore on
               others of any aircraft that is an                                premises you own or rent;
               "unmanned aircraft". Use includes
                                                                           (b) A watercraft you do not own that
               operation and "loading or unloading".
                                                                                is:
               This Paragraph g.(1) applies even if
                                                                                (i) Less than 51 feet long; and
               the claims against any insured allege
               negligence or other wrongdoing in the                            (ii) Not being used to carry
               superv1s1on,      hiring,  employment,                                persons for a charge;
               training or monitoring of others by                         (c) Parking an "auto" on, or on the
               that insured, if the "occurrence" which                          ways next to, premises you own
               caused the "bodily injury" or "property                          or rent, provided the "auto" is not
               damage" involved the ownership,                                  owned by or rented or loaned to
               maintenance, use or entrustment to                               you or the insured;
               others of any aircraft that is an                           (d) Liability assumed under any
               "unmanned aircraft".                                             "insured      contract"       for   the
           (2) Aircraft (Other Than Unmanned                                    ownership, maintenance or use
               Aircraft), Auto Or Watercraft                                    of aircraft or watercraft; or
               "Bodily injury" or "property damage"                        (e) "Bodily      injury"      or    "property
               arising   out of the       ownership,                            damage" arising out of:
               maintenance, use or entrustment to                              (i) The operation of machinery
               others of any aircraft (other than                                  or equipment that is attached
               "unmanned      aircraft"), "auto"  or                               to, or part of, a land vehicle
               watercraft owned or operated by or                                  that would qualify under the
               rented or loaned to any insured . Use                               definition      of       "mobile
               includes operation and "loading or                                  equipment" if it were not
               unloading" .                                                        subject to a compulsory or
               This Paragraph g.(2) applies even if                                financial responsibility law or
               the claims against any insured allege                               other motor vehicle insurance
               negligence or other wrongdoing in the                               law where it is licensed or
               supervision,   hiring,   employment,                                principally garaged ; or


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                     (ii) The operation of any of the               This exclusion applies even if the claims
                          machinery    or   equipment               against any insured allege negligence or
                          listed in Paragraph f.(2) or              other wrongdoing in the supervision, hiring,
                          f.(3) of the definition of                employment, training or monitoring of others
                          "mobile equipment".                       by that insured, if the offense which caused
                (f) An aircraft that is not owned by                the "personal and advertising injury" involved
                    any insured and is hired,                       the   ownership,     maintenance,      use or
                    chartered or loaned with a paid                 entrustment to others of any aircraft that is an
                    crew. However, this exception                   "unmanned aircraft".
                    does not apply if the insured has               This exclusion does not apply to:
                    any other insurance for such                    a. The use of another's advertising idea in
                    "bodily   injury"   or "property                      your "advertisement"; or
                    damage", whether the other
                    insurance is primary, excess,                   b.    Infringing upon another's copyright, trade
                    contingent or on any other basis.                     dress or slogan in your "advertisement".
B. The following exclusion is added to Paragraph 2.        C. The        following   definition    is   added   to   the
   Exclusions of Coverage B - Personal And                    Definitions section:
   Advertising Injury Liability:                              "Unmanned aircraft" means an aircraft that is not:
   2.   Exclusions                                            1.    Designed;
        This insurance does not apply to:                     2.    Manufactured; or
        Unmanned Aircraft                                     3.    Modified after manufacture;
        "Personal and advertising injury" arising out of      to be controlled directly by a person from within or
        the   ownership,     maintenance,      use or         on the aircraft.
        entrustment to others of any aircraft that is an
        "unmanned aircraft". Use includes operation
        and "loading or unloading".




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POLICY NUMBER:




     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                     POLICY CHANGES
This endorsement modifies insurance provided under the following:

      COMMERCIAL GENERAL LIABILITY COVERAGE PART
      PRODUCTS-COMPLETED OPERATIONS LIABILITY COVERAGE PART
      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
      RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following items(s):

   Insured’s Name                                              Insured Mailing Address
   Policy Number                                               Company
   Effective/Expiration Date                                   Insured Legal Status/Business of Insured
   Payment Plan                                                Premium Determination
   Additional Interested Parties:                              Coverage Forms and Endorsements
   Limits/Exposures                                            Deductibles / SIR
   Covered Property/Location Description                       Classification Class Codes
   Rates                                                       Underlying Insurance

is (are) changed to read:




The above amendments result in a change in the premium as follows:
    NO CHANGES               TO BE ADJUSTED             ADDITIONAL PREMIUM          RETURN PREMIUM
                             AT AUDIT                   $                           $




                                                                ______________________________________
                                                                    Authorized Representative Signature




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POLICY NUMBER:




        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


 PER LOCATION - AMENDMENT OF GENERAL AGGREGATE
   SUBJECT TO MAXIMUM ANNUAL AGGREGATE LIMIT
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                       SCHEDULE

LIMITS OF INSURANCE:
The Limits of Insurance shown in the Declarations are amended by the following:

The Limits of Insurance, subject to all the terms of this policy that apply, are:

     Each Occurrence Limit                                                    $        See Declarations Page
     Personal and Advertising Injury Limit                                    $        See Declarations Page
     Damage to Premises Rented to You – Any One Premises                      $        See Declarations Page
     Medical Expense Limit - Any One Person                                   $        See Declarations Page
     General Aggregate Limit                                                  $
     Location General Aggregate Limit                                         $
     Maximum Annual Aggregate Limit                                           $
     Products-Completed Operations Aggregate Limit                            $        See Declarations Page



In return for the payment of the premium when due and subject to all the terms of the Commercial General Liability
Coverage Part not expressly modified herein, we agree with you as follows:

A. The LIMITS OF INSURANCE (SECTION III) is                               The Maximum Annual Aggregate Limit is the
   deleted in its entirety and replaced with the                          most we will pay for the sum of:
   following:                                                             a. Damages under the General Aggregate
    1. The Most We Will Pay                                                  Limit; and
        The Limits of Insurance shown in the above                        b. Damages under any one or more Location
        Schedule and the rules below fix the most we                         General Aggregate Limit(s), as described in
        will pay regardless of the number of:                                paragraph 4. below.
        a. Insureds;                                                 3. General Aggregate Limit
        b. Claims made or "suits" brought; or                             Subject to 2. above, the General Aggregate
        c. Persons or organizations making claims or                      Limit is the most we will pay for the sum of:
           bringing "suits".                                              a. Damages under Coverage B Personal and
    2. Maximum Annual Aggregate                                              Advertising Injury Liability; and



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       b. Damages under Coverage C Medical                          General Aggregate for that "location". Such
          Payments, and Coverage A Bodily Injury                    payments shall not reduce the General
          and Property Damage Liability, with the                   Aggregate Limit or the Products-Completed
          following exceptions:                                     Operations Aggregate Limit nor shall they
           (1) "Bodily injury" or "property damage"                 reduce any other Location General
               included in the "products-completed                  Aggregate Limit.
               operations hazard"; or                        5. Products-Completed Operations Aggregate
           (2) "Bodily injury" or "property damage"             Limit
               attributed solely to ongoing operations          The Products-Completed Operations Aggregate
               at a single "location";                          Limit is the most we will pay for damages
       c. "Property damage" included as Damage to               because of "bodily injury" and "property
          Premises Rented to You.                               damage" included in the "products-completed
                                                                operations hazard".
   4. Location General Aggregate Limit
                                                             6. Personal And Advertising Injury Limit
       Subject to 2. above:
                                                                Subject to 3. above, the Personal and
       a. A separate Location General Aggregate
                                                                Advertising Injury Limit is the most we will pay
          Limit applies to each single "location", in lieu      under Coverage B Personal and Advertising
          of and not in addition to, the General                Injury Liability for the sum of all damages
          Aggregate.        Such Location General               because of all "personal and advertising injury"
          Aggregate is the most we will pay for all             sustained by any one person or organization.
          damages under Coverage A Bodily Injury
          and Property Damage Liability, or                  7. Occurrence Limit
          Coverage C Medical Payments, with the                 Subject to 3., 4., or 5. above, whichever applies,
          following exceptions:                                 the Each Occurrence Limit is the most we will
           (1) "Bodily injury" or "property damage"             pay for damages under "bodily injury" or
               included in the "products-completed              "property damage" arising out of any one
               operations hazard"; or                           "occurrence".
           (2) "Property damage" included in the             8. Damage To Premises Rented To You Limit
               Damage to Premises Rented to You                 Subject to 7. above, the Damage to Premises
               coverage; or                                     Rented to You Limit is the most we will pay for
           (3) "Bodily injury", "property damage", or           damages because of "property damage" to any
               medical expenses under Coverage C,               one premises, while rented to you, or in the
               which cannot be attributed solely to the         case of damage by fire, lightning or explosion,
               ongoing operations at a single                   while rented to you or temporarily occupied by
               "location". Such damages will erode the          you with permission of the owner.
               General Aggregate Limit as provided in           In the case of damage by fire, lightning or
               paragraph 3. above.                              explosion, the Damage to Premises Rented to
       b. The Location General Aggregate Limit:                 You Limit applies to all damage proximately
                                                                caused by the same event, whether such
           (1) Applies only to "occurrences" attributed
                                                                damage results from fire, lightning or explosion
               solely to ongoing operations at a single         or any combination of these.
               "location"; and
                                                                The Damage to Premises Rented to You
           (2) Does not include damages for
                                                                Coverage is not subject to any Location General
               Coverage       B     Personal     and
                                                                Aggregate Limit, but will erode the General
               Advertising Injury Liability, no matter
                                                                Aggregate Limit.
               where or in how many "locations" the
               offense or offenses may be committed.         9. Medical Expense Limit
               Such damages will erode the General              Subject to 3. or 4. above, whichever applies, the
               Aggregate Limit as provided in                   Medical Expense Any One Person Limit is the
               paragraph 3. above.                              most we will pay under Coverage C Medical
       c. Any payments made under this paragraph                Payments for all medical expenses because of
          4., for damages for "bodily injury", "property        "bodily injury" sustained by any one person.
          damage", or medical expenses under                    Such Medical Payments Coverage is subject to
          Coverage C, shall reduce the Maximum                  either the Location General Aggregate Limit or
          Annual Aggregate Limit and the Location



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       the General Aggregate Limit as provided in                The Limits of Insurance of this Coverage Part apply
       paragraphs 3. or 4. above.                                separately to each consecutive annual period and to
   10. How Limits Apply When To Additional                       any remaining period of less than 12 months,
       Insureds                                                  starting with the beginning of the policy period
                                                                 shown in the Declarations, unless the policy period
       If you have agreed in a written contract or               is extended after issuance for an additional period of
       written agreement that another person or                  less than 12 months. In that case, the additional
       organization be added as an additional insured            period will be deemed part of the last preceding
       on your policy, the most we will pay on behalf of         period for purposes of determining the Limits of
       such additional insured is the lesser of:                 Insurance.
           (1) The limits of insurance specified in the      B. For the purposes of this endorsement, the
               written contract or written agreement; or        Definitions Section is amended by the addition of the
           (2) The Limits of Insurance shown in the             following definition:
               Declarations.                                     "Location" means premises involving the same or
       Such amount shall be a part of and not in                 connecting lots, or premises whose connection is
       addition to Limits of Insurance shown in the              interrupted only by a street, roadway, waterway or
       Declarations and described in this Section.               right of way of a railroad.
   11. If More Than One Limit of Insurance Applies
       If more than one limit of insurance under this
       Coverage Part and any endorsements attached
       thereto applies to any claim or "suit", the most
       we will pay under this Coverage Part and such
       endorsements is the single highest limit of
       liability of all coverages applicable to such claim
       or "suit".
       However, this paragraph 11. does not apply to
       the Medical Expense Limit for Coverage C.




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